20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 1 of 97



                                     UNITED STATES BANKRUPTCY COURT
                                        WESTERN DISTRICT OF TEXAS
                                              AUSTIN DIVISION

    IN RE:                                             §
                                                        §
    ALEXANDER E. JONES,                                §    CASE NO. 20-10118-hcm
        Alleged Debtor.                                §         Chapter 11
                                                        §

                                ALLEGED DEBTOR’S MOTION TO DISMISS

            Alex Jones (“A/”) the above-captioned involuntary debtor files this motion (the “Motion”)

    pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure (the “FRCP”), sections 105 and

    303 of title 11 of the United States Code (the “Bankruptcy Code”), and Rules 1011 and 7012 of

   the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) for entry of an order

    dismissing the involuntary bankruptcy petition (the “Petition”) filed by Kelly R. Jones (“Kf') due

   to lack of jurisdiction. In support of this Motion, AJ respectfully represents as follows:

                                         JURISDICTION AND VENUE

             1.       This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

    and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before this

    Court pursuant to 28 U.S.C. §§ 1408 and 1409.

            2.        The bases for the relief requested herein are sections 105 and 303 of the Bankruptcy

    Code, Bankruptcy Rules 1011 and 7012 , and FRCP 12(b)(1).

            3.        KJ is AJ’s former spouse. Since their divorce in March 2015, KJ has initiated

   numerous actions against AJ, including tort claims, petitions for habeas corpus, and multiple

   motions for emergency temporary restraining orders. All of these motions have been found to be

   without merit. KJ and AJ are currently involved in a pending lawsuit in the State District Court of

   Travis County, Texas under Cause No. D-l-FM-15-005030 (the “Pending Action”) in which

   competing motions to modify the parent/child relationship are pending. After losing a variety of

     031605-75108/4814-1455-3523.9
                                                       1
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 2 of 97



    attempts to recuse the presiding judge and after removing the action to federal court on two

    occasions, each time resulting in remand to the State District Court, KJ is facing a day of reckoning

    in the Pending Action which she is attempting once again to avoid by the filing of this involuntary

    bankruptcy case to stay her own claims in the Pending Action. As absolute evidence of the attempt

    to use a jurisdictionally invalid assertion of an involuntary bankruptcy proceeding for the purpose

    of avoiding the adjudication of the Pending Action in State District Court, KJ has attempted (albeit

    improperly) to remove the Pending Action to the United States District Court (where it has been

    labeled Cause No. A20-CV-151-LY) based upon 28 U.S.C. § 1452, “related to” bankruptcy

    jurisdiction emanating from this improper action and in furtherance of her attempts to avoid a

    forum for adjudication of claims which she has heretofore, been completely unsuccessful in

    proceeding with.

                                             BACKGROUND FACTS

            4.        Pursuant to the Final Decree of Divorce and as part of a property division, AJ

    executed and delivered to KJ that certain Real Estate Lien Note dated March 19, 2015, of

    $2,727,951 (the “Note”). In fact, KJ attached the Note to her Petition filed in this case. The Petition

    is attached hereto as Exhibit A and the Note is attached thereto as Exhibit A-l. Pursuant to the

    Note, AJ is obligated to make monthly payments to KJ in the amount of $43,933.00.

            5.        As admitted in her Petition, the Note is secured by two deeds of trust granting KJ a

    security interest against the following real property:

                 a) 15101 Back of Moon St. D., Austin, TX 78734, legally described as Lot 3,
                    Amended Plat of Back of the Moon Subdivision, A Subdivision in Travis
                    County, Texas, According to the Map or Plat thereof recorded in Volume
                    93, page 282, of the Plat Records of Travis County, Texas (the “Back of the
                    Moon Property”) attached to the Petition as Exhibit A-2; and

                 b) Pedernales Hills Ranch, Lot 18, 5.01 acres, legally described as BEING
                    Tract 18, Pedernales Hills Ranches, a subdivision situated in Blanco


     031605-75108/4814-1455-3523.9
                                                       2
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 3 of 97



                      County, Texas, according to Plat in Volume 1, page 123-126, Plat Records
                      of Blanco County, Texas; together with ingress and egress easement more
                      particularly described in Volume 112, page 782, Deed of Records of Blanco
                      County, Texas (the “Pedernales Property”) attached to the Petition as
                      Exhibit A-3.

            6.        In connection with the final decree of divorce, Judge Doug Warne, sitting as Special

    Judge and presiding over the divorce trial, determined that the Back of the Moon property had a

    market value of $780,000, while the Pedernales Property had an agreed market value of $68,640.

    (See Affidavit ofRandall Wilhite in Support ofAlleged Debtor’s Motion to Dismiss attached hereto

    as Exhibit B, and an excerpt of the true and correct copy of a portion of the Final Rendition in the

    divorce action, attached thereto as Exhibit B-2).

            7.        In the Petition filed in this case, KJ claims that she is owed $786,861.00 on the

    Note. Exhibit A.       13. The outstanding amount of the Note, which is not in default, is $596,267.16.

    (See Affidavit ofDavid Jones in Support ofAlleged Debtor’s Motion to Dismiss attached hereto as

    Exhibit C). However, even if KJ was correct (she is not), the value of the property securing the

    Note exceeds the amount even claimed to be owed. AJ believes and asserts that these properties

    have significantly more value than previously determined. As such, even if the Note could be

    accelerated (it cannot), KJ is well oversecured for the debt under the Note, which is neither

    currently due, owing or accelerated.

            8.        On January 24, 2020, despite being current on the receipt of payments due under

    the Note, KJ filed the Petition, commencing this case. The Petition is full of inconsistencies and,

    on its face, illustrates that KJ has not met the statutory requirements to commence an involuntary

    bankruptcy proceeding against AJ. For example:

                 a) Box 8 indicates that the debts are primarily business debts, however, the
                    only alleged debt is the Note, a personal obligation of AJ pursuant to the
                    divorce decree;

                 b) Box 11 indicates that AJ is “generally not paying such debtor’s debts as they

     031605-75108/4814-1455-3523.9
                                                        3
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 4 of 97



                      become due”, however, KJ provides no evidence that AJ is in default under
                      the Note, and in fact, he is not;

                  c) KJ has attached the Note and both deeds of trust to the Petition evidencing
                     the fact that her claim against AJ is secured and has nowhere indicated that
                     any portion of the obligation, upon which he is current, is unsecured; and

                  d) Immediately upon the filing of the Petition, KJ filed a suggestion of
                     bankruptcy in the Pending Action, attached hereto as Exhibit B-3, and
                     attempted to remove the Pending Action to Federal District Court. See
                     Exhibit B-l.

                                           RELIEF REQUESTED

            9.        By this Motion, AJ requests entry of the an order dismissing the Petition for failure

    to satisfy the statutory requirements of section 303 of the Bankruptcy Code and because KJ is not

    a qualified creditor for the purpose of invoking this Court’s jurisdiction pursuant to the Petition

    filed in this case. AJ asserts that the Petition, as evidenced by the history in the Pending Matter,

    and the subsequent removal of the Pending Matter to avoid adjudication in the State District Court

    of Travis County, is the essence of bad faith, and AJ reserves the right, upon the dismissal of this

    case, and consistent with section 303(i) of the Bankruptcy Code and the Bankruptcy Rules, to

    assert claims against KJ for the bad faith and improper filing of the Petition.

                                            BASIS FOR RELIEF

            10.       Bankruptcy Rule 1011(b) states that “[djefenses and objections to the petition shall

    be presented in the manner prescribed by Rule 12 F.R.Civ.P........” Fed. R. Bankr. P. 1011(b).

            11.       Pursuant to Rule 12(b)(1), dismissal of an involuntary petition in bankruptcy is

    appropriate when there are no valid and qualified creditors that initiate the complaint. In re Green

   Hills Dev. Co., LLC, 741 F.3d 651, 660 (5th Cir. 2014) (affirming the dismissal of an involuntary

    petition under FRCP 12(b)(1) because the court lacked jurisdiction when the petitioning creditor

    did not meet the statutory requirements to initiate an involuntary bankruptcy).



     031605-75108/4814-1455-3523.9
                                                       4
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 5 of 97



            12.       This Court may consider affidavit and other evidence in consideration of whether

    it has jurisdiction and in connection with motions under FRCP 12(b)(1). Den Norshe Stats

    Oljeselskap As v. HeereMac Vof 241 F.3d 420, 424 (5th Cir. 2001); Barrera-Montenegro v. United

    States, 74 F.3d 657, 659 (5th Cir. 1996); Espinoza v. Missouri Pac. R.R. Co., 754 F.2d 1247, 1248

    n. 1 (5th Cir. 1985); William v. Tucker, 645 F.2d 404, 413 (5th Cir. 1981).

    A.      The Statutory Requirements of Section 303 of the Bankruptcy Code Have Not Been
            Satisfied

            13.       The Petition should be dismissed because it fails to satisfy the statutory

    prerequisites of an involuntary bankruptcy petition prescribed by section 303(b) of the Bankruptcy

    Code.

            14.       Recognizing that involuntary bankruptcy is a particularly severe remedy, Congress

    limited the circumstances in which creditors may force a debtor to such a proceeding. Pursuant to

    section 303(b) of the Bankruptcy Code, an involuntary case may only be filed against a person by

    filing a petition under chapters 7 or 11 with the bankruptcy court:

                  1) by three or more entities, each of which is either a holder of a claim against
                     such person that is not contingent as to liability or the subject of a bona fide
                     dispute as to liability or amount. . . [that] aggregate at least $16,750 more
                     than the value of any lien on property of the debtor securing such claims
                     held by the holders of such claims;

                  2) if there are fewer than 12 such holders, excluding any employee or insider
                     of such person and any transferee of a transfer that is voidable under section
                     544, 545, 547, 548, 549, or 724(a) of this title, by one or more of such
                     holders that hold in the aggregate at least $16,750 ofsuch claims . .. .”

    11 U.S.C. § 303(b)(l)-(2) (emphasis added).

            15.       Section 303 of the Bankruptcy Code further provides that:

                  h) [T]he court shall order relief against the debtor in an involuntary case under the
                     chapter under which the petition was filed, only if—




     031605-75108/4814-1455-3523.9
                                                        5
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 6 of 97



                           1) the debtor is generally not paying such debtor’s debts as such debts become
                              due unless such debts are the subject of a bona fide dispute as to liability or
                              amount....

        11 U.S.C. § 303(h)(1) (emphasis added).

             16.      Here, the Petition fails to satisfy the statutory prerequisites because KJ is a fully

    secured creditor and, therefore, not an eligible petitioning creditor. Moreover, it is clear that the

    Petition has been filed for an improper purpose. To the extent that this Court does not dismiss the

    Petition on the grounds of qualification of the petitioning creditor alone, AJ will show that he is

    generally paying his debts as they become due, including the obligation under the Note to KJ, and

    that there is no basis for the assertion of involuntary bankruptcy against him except to prevent the

    adjudication of the Pending Case in State District Court where it belongs.

             17.     KJ is not an eligible petitioning creditor because she is fully secured. See 11 U.S.C.

    § 303(a)(1)—(2) (the petitioning creditor(s) must hold “noncontingent, undisputed claims

    aggregating] at least $16,750 more than the value of any lien on property of the debtor securing

    such claims”) (emphasis added).

             18.      KJ attached the Note and two deeds of trust to the Petition showing that her claim

    is secured by two different properties. Per the attached exhibits and affidavit testimony, the Back

    of the Moon Property and the Pedernales Property have a value that exceeds the debt owed on the

   Note by at least $200,000, and as such, KJ does not qualify as a petitioning creditor. Because KJ

    cannot qualify as a petitioning creditor, the Court lacks jurisdiction in this case and must dismiss

    it pursuant to FRCP 12(b)(1). See In re Green Hills Dev. Co., LLC, 741 F.3d at 660 (affirming the

   dismissal of an involuntary petition under FRCP 12(b)(1) because the court lacked jurisdiction

   when the petitioning creditor did not meet the statutory requirements to initiate an involuntary

   bankruptcy)

   B.       Reservation of Claims for Attorneys’ Fees, Costs, and Damages

     031605-75108/4814-1455-3523.9
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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 7 of 97



            19.       AJ was forced to incur attorneys’ fees and costs due to the bad faith filing of the

    Petition. Pursuant to section 303(i)(l) of the Bankruptcy Code, a court dismissing an involuntary

    petition without the consent of all parties may award the alleged debtor reasonable attorneys’ fees

    and costs. 11 U.S.C. § 303(i)(l). An alleged debtor is also entitled to actual or punitive damages

    where the petitioning creditor filed the petition in bad faith. 11 U.S.C. § 303(i)(2). As detailed

    above, KJ filed this case in bad faith and with the improper purpose of forum shopping. In

    connection with the dismissal of this case by this Court, AJ requests that this Court reserve

    jurisdiction to enter an appropriate award of attorneys’ fees, costs, damages and punitive damages

    due to the bad faith actions of KJ in bringing this Petition to this Court.

            WHEREFORE, AJ requests that the Court dismiss the Petition for the reasons set forth

    herein and grant such further relief to which he may be justly entitled.


      DATED:          February 13, 2020
                      Austin, Texas

                                                    Respectfully submitted,

                                                    Waller Lansden Dortch & Davis, LLP


                                                    By Js/Eric J. Taube____________________
                                                    Eric Taube (Bar No. 19679350)
                                                    William R. “Trip” Nix, III (Bar No. 24092902)
                                                    Evan J. Atkinson (Bar No. 24091844)
                                                    100 Congress Avenue, Suite 1800
                                                    Austin, Texas 78701
                                                    (512) 685-6400
                                                    (512) 685-6417 (FAX)
                                                    Email: Eric.Taube@wallerlaw.com
                                                           Trip.Nix@wallerlaw.com
                                                           Evan.Atkinson@wallerlaw.com

                                                    Attorneys for the Alleged Debtor




     031605-75108/4814-1455-3523.9
                                                       7
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 8 of 97



                                     CERTIFICATE OF SERVICE

             I hereby certify that a true and correct copy of the foregoing was served on all persons
     listed below via the Court’s ECF service and by United States First Class Mail on February
     13, 2020:

              Kelly R. Jones
              11601 Hwy. 290w
              Suite A101-307
              Austin, TX 78737

                                                        /s/ Eric Taube
                                                        Eric J. Taube




     031605-75108/4814-1455-3523.9
                                                    8
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 9 of 97




                                      EXHIBIT A

                             Involuntary Bankruptcy Petition
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 10 of
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                                                                 :   ‘      ’I !}
                                                                                                                                             .MM              ... -Ljoi

                                                                                                                                             A u sti n p rocess, LLC


           fill In fill,. IntnrnnllunloM nt fythocj u
           United States Bankruptcy Court tor tire:
           Western District of Texas                  |rj                                                                   filed
           Coso number (n hmm):__________________________Chapter                  11                                2820 JAN 24 PH 2? 06
                                                                                                                    U-^AflKRUpfcy COURT           Q Check if this is an
                                                                                                                                 \VNv/-'y           amended filing
      Official Form 105
      Involuntary Petition Against an Individual                                                                                                              12/15
      Use this torm to begin a bankruptcy case against an Individual you allege to be a debtor subject to ail Involuntary case. If you want to begin a
      case against a non-lndivldtial, use the Involuntary Petition Against a Non-Individual {Official Form 205), Be as complete and accurate as
      possible. If more space is needed, attach a separate sheet lo this form. On the top of any additional pages, write name and case number (if
      known).


      Pm 11            Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


      1.     Chapter of the                    Chock one:
             Bankruptcy Code
                                               □      Chapter 7
                                               Si Chapter 11

                       Identify the Debtor


 ! 2- Debtor’s full name                        Alexander
                                                                                                                                                                      !I
                                               First narno
                                                                                                                                                                       i
                                                Emric
                                               Middle names

                                                Jones
                                               Last name

                                               Suffix (Sr,, Jr., H, ffl)



             Other names you know               Alexander Emerlck Jones                     CM. A 7vjyh                                                                    i
                                                                                                                                                                           S
             the debtor has used in
             the last 8 years                   Alex Jones____________                       A1-- 4-
                                                                                                                                                                           i
             include any assumed,
                                                Alexander E. Jones                            A~L 4 A
             married, maiden, orttacte
             names, or doing business as
             names.

             Only the last 4 digits of          S3 Unknown
             debtor’s Social Security
             Number or federal
                                                xxx      - xx -            5     9      8      9               OR       9   XX   -- XX   -
             individual Taxpayer
             Identification Number
              (ITIN)
              Any Employer
              Identification Numbers            Q Unknown
              (EINs) used In the last 8
  i
              years                             __

                                                eiw

       Official Form 105                                                   Involuntary Petition Against an Individual                                page 1
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 11 of
                                        97




     Debtor      Alexander Emric Jones                                                                                           Ca'io numbs! frtww}.


                                     Principal residence                                                                             Mailing address, if different from residence
 ; 6. Debtor’s address


                                     1400 Barton Creek Boulevard______ 3019 Alvin DeVane Boulevard, Suite 350
                                     Number           Si/oul                                                                         Number                Street


                                              ______________,________________ FREE SPEECH SYSTEMS, LLG

                                     Austin_______________ TX                                                   78735                Austin                                                          TX      76741
                                     City                                                      State           ZIP Code              City                                                           Stale    ZIP Code


                                     Travis County                               _______
                                     County



                                     Principal place of business



 j                                   3019 Alvin Da Vane Boulevard, #350                                                __
 |                                   Number           Street


 !                                   FREE SPEECH SYSTEMS, LLC
 I
 i                                   Austin                                                    TX              78741
 |                                   City                                                     State            ZtPCode


 |                                   78741____________ _____________ _
 s                                   County
 |
 | 7, Type of business               Q Debtor does not operate a business

 I                                   Check one it the debtor operates a business:

                                     Q      l-taaith Care Business (as defined In 11 U.S.C, § 101 (27A))
 ;                                   Q      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51 B)}
 j                                   Q      Stockbroker (as defined In 11 U.S.C, § 101 (53A)}
 S                                   Q      Commodity Broker (as defined lii 11 U.S.C. § 101(6))
 j                                   0      None of the above


 j a. Type of debt                   Each petitioner believes;

                                      Q     Debts are primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                                            "incurred by an individual primarily for a personal, family, or household purpose."
                                      0      Debts aro primarily business debts. Business debts are dublu that were incurred to obtain money
                                             lot a business or investment or through the operation of |ho business or Investment,


         Do you know of any           0      Mo
         bankruptcy cases
         pending by or against        □      Yes. Debtor.                                                                                                        Relationship
         any partner, spouse, or
                                                    District _                                                   Dale iiiod .                                    Caso number, ii known.
         affiliate of this debtor?                                                                                                MM I DD / YYYY



                                                  Debtor...................................... ... .................................................... ......... ........... Relationship____________

                                                  District______________ ______ __________Date filed ............... ................... Case number, if known
                                                                                                      MM/DD/YYYY


     Official Form 105                                              Involuntary Petition Against an Individual                                                                                              page 2
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 12 of
                                        97




  Debtor        Alexander Emric Jones                                                                Ciise number I '


               Report About the Case
                                                                                                                                                                   1
  10. Venue                              Check one:
      Reason for filing In this court.   $ Over the last 180 tiays before the filing of this bankruptcy, the debtor lias resided, had the principal place of
                                            business, or had principal assets in fills district longer than in any other district.

                                         Q A bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this district.

                                         □ Other reason. Explain. {See 28 U.S.C. § 1408.) __________________________________ _______________



 i 11, Allegations                       Each petitioner is eligible to ille this petition under '11 U.S.C. § 303(b).
                                         The debtor may be the subject ol an Involuntary case under 11 U.S.C. § 303(a).

                                         At least one box must bo checked:                                                                                             j
                                         (if The debtor is generally not paying such debtor's debts as they become due, unless they ate the subject ol a               |
                                             bona fido dispute as to liability or amount.                                                                              I
                                                                                                                                                                       l
                                         □ Within 120 days before the filing of this petition, a custodian, oilier than a trustee, receiver, or agent appointed or j
                                           authorized to take charge oi less than substantially all of the property of the debtor for the purpose of enforcing a I
                                           lien against such property, was appointed or took possession.                                                           ;


   12. Has there been a                  I2f No
      transfer of any claim
      against the debtor by or           □ Yes, Attach all documents that evidence the transfer and any statements required under Bankruptcy Rule
      to any petitioner?                           1003(a).


                                                                                                                                               Amount of the
  j 13. Each petitioner's claim                                                                      Nature of petitioner's claim              claim above tiro
                                             Nemo of petitioner
                                                                                                                                               value of any lien


                                         Kelly R. Jones                                            Default on Promissory Note                                              :
                                                                                                                                               s      786,861.00 (




                                                                                                                                                $




                                                                                                                                     Total            786,861,00


                                              If more than 3 petitioners, attach additional sheafs with the statement under penalty
                                              of perjury, each petitioner's (or representative's) signature under the statement,
                                              along with the signature of the petitioner’s attorney, and the information on the
                                              petitioning creditor, the petitioner’s claim, the petitioner's representative, and the
                                              attorney following tire format on this form.




    Official Form 105                                           Involuntary Petition Against an Individual                                          page 3
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 13 of
                                        97




  Debtor         Alexander Emrlc Jones                                                                       Case number (inr^.a).



  Part 4:      Request for Relief

     Petitioners request that an order for relief bo entered against ttie debtor under the chapter specified in Part 1 of this petition, if a petitioning            l
     creditor is a corporation, allach the corporate ownership statement required by Bankruptcy Rule 1010(b), If any petitioner is a foreign                         j
     representative appointed in a foreign proceeding, a certified copy of the order of the court granting recognition is attached.                                      j

      Petitioners declare under penalty of perjury that the information provided In this petition Is true and correct. Petitioners understand that if they make a j
      false statement, they could bo fined up to $250,000 or Imprisoned for up to 5 years, or both,                                                               j
      18U.S.G, §§ 152 and 3571. If relief Is not ordered, the court may award attorneys’ fees, costs, damages, and punitive damages. 11 U.S.C, § 303 1        ( ).j

      Petitioners or Petitioners’ Representative                                              Attorneys



                                             ~(r).V'
      Slgrmluro
      Signature of petitioner
                   pfMitftmtsr or
                               Of reptesentaliva,
                                  renre           including representative's title            Signature of attorney


       Kelly Ft, Jones____________
      Printed name of petitioner                                                              Printed name


      Date signed
                           01/23/2020
                                                                                              Firm name, rf any
                           MM / DD /YYYY


                                                                                              Number     Street
      Mailingaddross of petitioner

       11601 Hwy 290 W.( Suite A101-307                                                       City                                       State         ZIP Code
      Number      Street
                                                                                              Date signed
       Austin                                    TX           78737                                               MM /DD /YYYY
      City                                         State
                                                                                               Contact phone      ______ ______________Email _


      If petitioner is an individual and is not represented by an
      attorney:
      Contact phone             888-995-3559
      Email                     service@viotetkolly.com


      Name and mailing address of petitioner's representative, if any


       Name



       Number      Street



       City                                         Slate                        ZIP Code




    Official Form 105                                                   involuntary PotHion Against an individual                                    page 4
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 14 of
                                        97




                                   EXHIBIT A-l

                                Real Estate Lien Note
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 15 of
                                        97




                                             Real Estate Lien Note
                                         2.nr
         Dale:

         Make!'.' Alexander Omerick Jones

         Maker’s Mailing Address: 101. Colorado Street, #3605, Austin, Travis County, Texas 78703

         Payee: Kelly R, Jones, as lief sole and separate property and estate

         Place for Payment: 12250 Trautwein Road, Austin, Hays County, Texas

         Principal Amount: Two Million Seven Hundred and Twenty-Seven Thousand nine hundred and
         Fifty-One and No/100 Dollars ($2,727,95 i)

         Annual Interest Rate; Five percent (5%)

         Annua) Interest Rate on Matured, Unpaid Amounts; Five percent (5%).

         'Perms of Payment (principal and interest):

                 Principal and interest on tills Rea! Estate Lien Note ("Note”) arc due and payable in
         monthly installments of Forty-Three Thousand Nine Hundred Thirty-Three and No/100 Dollars
         ($43,933.00) each, beginning forty-five days after the signing of the Final Decree of Divorce
         between Payee and Maker in Cause No 13-2647, In the Matter of the Marriage of K.R.J. and
         A.J., by the Presiding Judge qf the 42811' Judicial District Court of Hays County, Texas, and
         continuing on the same day of each following calendar month until all payments of principal and
         interest called for herein have been paid in full. Payments shall be sent to 12250 Trautwein
         Road, Austin, Texas 78737.

         Security for Payment:

                 This Note is secured by two deeds of Trust dated of even date herewith by Maker for the
         benefit ofPayee, 'the Deeds of Trust grant Payee a lien on (he following real property:

                   15101 Back of the Moon St. D., Austin, TX 78734, legally described as Lot 3,
                   Amended Plat Of Back Of The Moon Subdivision, A Subdivision in Travis
                   County, Texas, According to the Map Or Plat Thereof Recorded In Volume 93,
                   Page 282, Of The Plat Records Of Travis County, Texas, and

                   Pedornales Hills Ranch, Lot 18, 5,01 Acres, legally described as BEING Tract
                   18, Pedemales Hills Ranches, a subdivision situated in Blanco County, Texas,
                   according to Plat in Volume 1, Page 123-126, Plat Records of Blanco County,
                   Texas; together with ingress and egress easement more particularly described in
                   Volume 112, Page 782, Deed Records of Blanco County, Texas.



                   Maker promises to pay to the order of Payee the principal amount plus interest at the

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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 16 of
                                        97




         annua! interest rate. This note is payable at the place for payment and according to the forms of
         payment, All unpaid amounts arc due by the maturity dale, If any amount is not paid cither when
         due under tire terms of payment or on acceleration of maturity, Maker promises to pay any
         unpaid amount plus interest from the date the payment was duo to the date of payment at the
         annua! interest rate on matured, unpaid amounts,

                 Maker may prepay this note in any amount at any time before the maturity date without
         penalty or premium. Prepayments will be applied to installments on the hist maturing principal,
         and interest; on that prepaid principal will immediately cease to accrue,

                 If Maker defaults in the payment of this note or in the performance of any obligation in
         any instrument securing or collateral to tin's note, Payee may declare the unpaid principal
         balance, earned interest, and any other amounts owed on the note immediately due. Maker and
         each surety, endorser,'and guarantor waive, to the extent permitted by law, all (n) demand for
         payment, (b) presentation for payment, (e) notice of intention to accelerate, maturity, (d) notice of
         acceleration of maturity, (e) protest, (f) nolice, of protest, and (g) rights under sections 51,003 and
         51,004 of the Texas Property Code.

                 Maker also promises to pay reasonable attorney's fees and court and other costs if this
         note is placed in the hands of an attorney to collect or enforce the note. These expenses will bear
         interest from the dale of advance at the annual interest rate on matured, unpaid amounts. Maker
         will pay Payee Ihese expenses and interest on demand at the place for payment. These expenses
         and interest will become part of the debt evidenced by the note and will be secured by any
         security for payment.

                 Interest on the. debt evidenced by this note will not exceed (lie maximum rale or amount
         of nonusurious interest that may be contracted for, taken, reserved, charged, or received under
         law. Any interest in excess of that maximum amount will be credited on the principal amount or,
         if the principal amount has been paid, refunded. On any acceleration or required or permitted
         prepayment, any excess interest will be canceled automatically ns of (he acceleration or
         prepayment or, if the excess interest has already been paid, credited on the. principal amount or,
         if the principal amount has been paid, refunded, This provision overrides any conflicting
         provisions in this note and nil other instruments concerning the, debt.

                   Each Maker is responsible for all obligations represented by this note,

                   When the context requires, singular nouns and pronouns include the plural.

                This note is given to evidence the indebtedness imposed on Maker by the Finn! Decree of
         Divorce entered in Cause No, 13 -2647 by the District Court of Hays County, Texas, styled 'Tn
         the Mattel' of the Marriage of K.RJ. and A„b end in the intoyoxpof, ^A.3\ C.A.J, and G.G.J.,
         minor children.”                                           /"O'""
                                                           ClC-1--                           JjQdLfea,
                                                         Alextmder Bmevick Jones, Maleefj
                                                         101 Colorado St,, #3605
                                                         Austin, Texas 73703
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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 17 of
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                                    EXHIBIT A-2

                            Back of the Moon Deed of Trust
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 18 of
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                                                                                  2015043398


                     ^         — (f

         Date:

         Grantor: Alexander Emeriek Jones

         Grantor’s Mailing Address: 101 Colorado Street, 1/3605, Austin, Travis County, Texas 78703

         Trustee: James S, Gilbreath

         Trustee's Mailing Address: 1301 S. Capital ol’Texas Highway, Suite C-I20, Austin, Travis
         County, Texas 78746

         Beneficiary: Kelly R, Jones

         Beneficiary’s Mailing Address; 12250 Trmilwein Road, Austin, Hays County, Texas 78737

         Mote

                  Date:

                   Original Principal Amount: $2,727,951,00

                   Maker: Alexander Emeriek Jones

                   Payee; Kelly R. Jones

                Maturity Date: Payable in 72 equal monthly installments of $43,933,00 each beginning 45
         days after the signing of the Final Decree of Divorce in Cause No, 13-2647 by the Presiding
         Judge of the 428lh Judicial District Court of Hays County, Texas.

         Property (including any improvements);

                   15101 Back of the Moon St. D,, Austin, TX 78734, legally described as Lot 3,
                   Amended Plat Of Back Of The Moon Subdivision, A Subdivision in Travis
                   County, Texas, According to the Map Or Plat Thereof Recorded lii Volume 93,
                   Page 282, Of The Plat Records Of Travis County, Texas

         Prior Lien(s): None,

         Other Exceptions to Conveyance and Warranty: None,

                 For value received and to secure payment of tire note, Grantor conveys the property to
         Trustee in trust. Grantor warrants and agrees to defend the title to Site property, subject to the
         other exceptions to conveyance and warranty. On payment of the note and all other amounts
         secured by this (Iced of (rust, this deed of trust will have no further effect, and Beneficiary will
         release it at Grantor's expense.




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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 19 of
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                                                              Clauses and Covenants

         A.       Grantor’s Obligations

                  Grantor agrees to—

                   1,        keep the property in good repair and condition;

                2,       pay all taxes and assessments on the property before delinquency, not authorize a
         taxing entity to transfer its (ax lien on the property to anyone other than Beneficiary, and not
         request a deferral of the collection of taxes pursuant to section 33,06 of the Texas Tax Code;

                3,     defend title to the property subject to the other exceptions to conveyance and
         warranty and preserve the lien’s priority as it is established in this deed of trust;

                 4,      maintain ail insurance coverages with respect to the property, revenues generated
         by the property, and operations on the property that Beneficiary reasonably requires (“Required
         Insurance Coverages”), issued by insurers and written on policy forms acceptable to Beneficiary,
         and deli ver evidence of the Required Insurance Coverages in a form acceptable to Beneficiary at
         least ten days before the expiration of the Required Insurance Coverages;

                   5,        obey all laws, ordinances, and restrictive covenants applicable to the property;

                   6,        keep any buildings occupied as required by the Required Insurance Coverages;

                 7,      if she lien of this deed of trust is not a first lien, pay or cause to be paid all prior
         lien notes and abide by or cause to be abided by nil prior lien instruments; and

                   8,        notify Beneficiary of any change of address,

         B.       Beneficiary’s Rights

                1,       Beneficiary may appoint in writing a substitute trustee, .succeeding to all rights and
         responsibilities ofTrustee,

                2,      If the proceeds of the note sue used to pay any debt scoured by prior liens,
         Beneficiary is subrogated to all the rights and lions of the holders of any debt so paid,

                3,      Beneficiary may apply any proceeds received under the property insurance policies
         covering the property either to reduce the note or to repair or replace damaged or destroyed
         improvements covered by the policy. If the property is Grantor’s primary residence and
         Beneficiary reasonably determines that repairs to the improvements arc economically feasible,
         Beneficiary will make the insurance proceeds available to Grantor for repairs, ‘

                 4,      Notwithstanding the terms of the note to the contrary, and unless applicable law
         prohibits, all payments received by Beneficiary from Grantor with respect to the note or this deed
         of trust may, at Beneficiary’s discretion, be applied first to amounts payable under this deed of
         trust and then to amounts clue and payable to Beneficiary with respect to (he note, to be applied to
         late charges, principal, or interest in the order Beneficiary in Its discretion determines,


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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 20 of
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               5,      If Cirnntor fails to perform any of Grantor’s obligations, Beneficiary may perform
        those obligations and be reimbursed by Grantor on demand for any amounts so paid, including
        attorney’s fees, phis interest on those amounts from the dates of payment at the rate sMaied in the
        note for matured, unpaid amounts, The amount to he reimbursed will be scoured by this deed of
        trust,

               6.     If a default exists in payment, of the note or performance of Grantor’s obligations
        and the default continues after any required notice of the default and the time allowed to cure,
        Beneficiary may—

                            a,        declare the unpaid principal balance and earned interest on the note
                                      immediately due;

                            b,        exercise Beneficiary's rights with respect to rent under the Texas Property
                                      Code, as then in effect;

                            c,        direct Trustee to foreclose this Hen, in which case Beneficiary or
                                      Beneficiary’s agent will cause notice of the foreclosure sale to be given as
                                      provided by the Texas Property Code as then in effect; and

                            d,        purchase the property at any foreclosure sale by offering the. highest bid
                                      and then have the bid credited on the note,

                7,     Beneficiary may.remedy any default without waiving it and may waive any default
         without waiving any prior or subsequent default,

         C,       Trustee’s Rights and Duties

                  If directed by Beneficiary to foreclose this Hen, Trustee will—

                1,     either personally or by agent give notice of the foreclosure sale as required by the
         Texas Property Code as then in effect;

                2,     soli and convey all or part of the property “AS IS" to the highest bidder for cash
         with a general warranty binding Grantor, subject to prior liens and to the other exceptions to
         conveyance and warranty and without representation or warranty, express or implied, by Trustee;

                  3,         from the proceeds of the sale, pay, in this order—

                             a,        expenses of foreclosure, including u reasonable commission to Trustee;

                             b.        to Beneficiary, the full amount of principal, intercsl, attorney’s fees, and
                                       other charges due and unpaid;

                             c,        any amounts required by law to be paid before payment to Grantor; and

                             d.        to Grantor, any balance; and

                4,     be indemnified, held harmless, and defended by Beneficiary against all costs,
         expenses, and liabilities incurred by Trustee for noting in the execution or enforcement of the (rust

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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 21 of
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         created by this deed of trust, which includes all court and other costs, including attorney’s fees,
         incurred by Trustee in defense of any action or proceeding taken against Trustee in that capacity,

         D,      General Provisions

                 1,      If any of the property is sold under this deed of trust, Grantor must immediately
         surrender possession to the purchaser. }f Grantor fails to do so, Grantor will become a tenant at
         sufferance of the purchaser, subject to an action for forcible detainer,

                 2,       Recitals in any trustee’s deed conveying the property will be presumed (o be true,

                 3,    Proceeding under this deed of trust, filing suit for foreclosure, or pursuing any
         other remedy wiii not constitute an election of remedies,

                 4,       This lien will remain superior to liens later created even if the time of payment of
         ali or part of the note is extended or part of the properly is released,

               5,      If any portion-of the note cannot bo lawfully secured by (Iris deed of trust,
         payments will be applied first to discharge that portion.

                 6,     Grantor assigns to Beneficiary all amounts payable to or received by Grantor from
         condemnation of all or part of the property, from private sale in lien of condemnation, and from
         damages caused by public works or construction on or near the property, After deducting any
         expenses incurred, including attorney’s fees and court and other costs, Beneficiary will either
         release any remaining amounts to Grantor or apply such amounts to reduce the note, Beneficiary
         will not be liable for failure to collect or to exercise diligence in collecting any such amounts.
         Grantor will immediately give Beneficiary notice of any actual or threatened proceedings for
         condemnation of all or part of the property.

                 7,       Grantor collaterally assigns to Beneficiary all present and future, rent from the
         property and its proceeds. Grantor warrants the validity and enforceability of the assignment,
         Grantor will apply all rent to payment of the note and performance of this deed of trust, but if the
         real exceeds the amount due with respect to the note and the deed of trust, Grantor may retain the
         excess. I f a default exists in payment of (he note or performance of this deed of trust, Beneficiary
         may exercise Benofioiary’s rights with respect to rent under the Texas Property Code, as then in
         effect, Beneficiary neither has nor assumes any obligations as lessor or landlord with respect to
         any occupant of the property. Beneficiary may exorcise Beneficiary’s lights and remedies under
         this paragraph without taking possession of the property, Beneficiary will apply ail rent collected
         under this paragraph as required by the Texas Property Code, as then in effect. Beneficiary is not
         required to act under this paragraph, and acting under this paragraph docs not waive any of
         Benefieuuy’s other rights or remedies,

                 8,       interest on the- debt scoured by this deed of trust will not exceed the maximum
         amount of nomisurions interest that may be contracted for, taken, reserved, charged, or received
         under law. Any interest in excess of that maximum amount will be credited on the principal of the
         debt or, if that has been paid, refunded. On any acceleration or required or permitted prepayment,
         any such excess will be canceled automatically as of the acceleration or prepayment or, if already
         paid, credited on the principal of the debt or, if the principal of the debt has been paid, refunded.


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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 22 of
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         This provision overrides nny conflicting provisions in ibis and all other instruments concerning
         the debt,

                9,      In no event may this deed of trust secure payment of any debt that may not
         lawfully be secured by a lien op real estate or create a lien otherwise prohibited by law,

                 10,     Jf Grantor transfers any part of tire property without Beneficiary’s prior written
         consent, Beneficiary may declare the note immediately payable and Invoke any remedies
         provided in this deed of trust for default. If the property is residential real property containing
         fewer titan five dwelling units or a residential manufactured home, this provision does not ripply
         to (a) a subordinate lien or encumbrance that does not transfer rights of occupancy of the
         property; (b) creation of a purchase-money security interest for household appliances; (c) grant of
         a leasehold interest of three years or less without an option to purchase; (d) transfer to a spouse or
         children of Grantor; (c) transfer to a relative of Grantor on Grantor’s death; (!) a transfer resulting
         from a decree of a dissolution of marriage, a legal separation agreement, or an incidental property
         settlement agreement by which the spouse of Grantor becomes an owner of the property; or (g)
         transfer to an inter vivos trust in which Grantor is and remains a beneficiary and occupant of the
         property,

                  11,       When the context requires, singular nouns and pronouns include the plural,

                12,     The term Hole includes all extensions, modifications, ami renewals of the note, and
         all amounts secured by this deed of trust,

                  13,       This deed of trust binds, benefits, and may be enforced by successors in interest of
         all parties,

                  14,       if Grantor and ivjaker are not (lie same person, the term Grantor includes Maker,

                 15,     Grantor and each surety, endorser, and guarantor of the note waive, to the extent
         permitted by law, all (a) demand for payment, (b) presentation for payment, (c) notice of intention
         to accelerate, maturity, (d) notice of acceleration of maturity, (e) protest, (f) notice of protest, and
         (g) rights under sections 51.003 and 51,004 of the Texas Property Code.

                 16,    Grantor agrees to pay reasonable attorney’s fees, trustee’s fees, and court and other
         costs of enforcing Beneficiary’s rights under this deed of (rust if (his deed of trust is placed in the
         hands of an attorney for enforcement.

                 17,     if any provision of this deed of trust is determined to be invalid or unenforceable,
         the validity or enforceability of any other provision will not be affected,

                18,         Grantor represents that this deed of trust and the note arc given for the following
         purposes:

                        This deed of trust is given to comply with the. Final Decree of Divorce and
                obligation imposed therein in Cause No. 13-2647, rendered by (lie 428”' Judicial
                District Court of Hoys County, Texas, styled "In the Matter of the Marriage of
                R.RJ, and A,J, and in the Interest of R.A.J., C.A.J, and G.GJ,, minor children.”


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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 23 of
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                                                             Alexander Bmerlck Jones

         STATE OF TEXAS

         COUNTY OF                                           )

               This instrument was acknowledged before me on
                                                                           /Ugh^Lj»' the
         Back of the Moon, undersigned Alexander Bmerlck Jones, Grantor




                                                             Notary Public, State ofurxas




         AFTER RECORDING, RETURN TO:

         lamed S. Gilbreath
         1301 S, Capital of Texas Highway
         Suite C-120
         Austin, Texas   78746




                                                                 FILED AND RECORDED
                                                                      OFFICIAL, PUBLIC RECORDS




                                                                      Mar 24, 2015   04;S3 PM    2015043338
                                                                             PEREZTA; $48,00
                                                                  Dona OeBoauvolr, County Clerk
                                                                       Travis County TEXAS




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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 24 of
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                                    EXHIBIT A-3

                               Pedernales Deed of Trust
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 25 of
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                                                      Deed of Trusty       co-f

         Date:

         Grantor: Alexander Emerick Jones

         Grantor’s Mailing Address: i01 Colorado Street, #3605, Austin, Travis County, Texas 78703

         Trustee: James S. Gilbreath

         Trustee’s Mailing Address: 1301 S, Capital of Texas Highway, Suite C-120, Austin, Travis
         County, Texas 78746

         Beneficiary: Kelly 11, Jones

         Beneficiary's Mailing Address: 12250 Trautwein Road, Austin, Hays County, Texas 78737

         Note                                                                                                             15
                                                                                  maim.             May of.         20-
                     Date:                                                                           Jl'34       Am
                     Original Principal Amount; $2,727,951.00                                    Laura Walla
                                                                                     O&uttly Oiotk, Blanco County, Texes
                     Makra’: Alexander Emerick Jones

                     Payeo: Kelly R, Jones

                 Maturity Date: Payable in 72 equal monthly installments of $43,933,00 each beginning 45
         days after the signing of the Final Decree of Divorce in Cause No. 13-2647 by the Presiding
         Judge, of the 428lh Judicial District Court of Hays County, Texas.

         Property (including any improvements):

                     Pcdertudes Hills Ranch, Lot i 8, 5,0 i Acres, legally described as BEING Tract i 8,
                     PEDBRNALBS HILLS RANCHES, a subdivision situated in Bianco County,
                     Texas, according to Plat in Volume I, Page 123-126, Plat Records of Blanco
                     County, Texas; TOGETHER WITH ingress and egress easement more
                     particularly described in Volume 112, Page 782, Deed Records of Bianco County,
                     Texas.

          Prior Lien(s): None.

          Other Exceptions to Conveyance and Warranty: None,

                  For. value received and to secure payment of the note, Grantor conveys the properly to
          Trustee in trust, Grantor warrants and agrees to defend (he title to flic property, subject to the
          oilier exceptions to conveyance and warranty. On payment of the note and all other amounts
          secured by this deed of trust, tills deed of trust will have no further effect, and Beneficiary will;
          release it at Grantor’s expense.                                                                    ;


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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 26 of
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                                                   Clauses and Covenants

         A,        Grim tor’s Obligations

                   Gran ttn- agrees to—

                    1,       keep the property in good repair and condition;

                  2,      pay all taxes and assessments on the property before delinquency, not authorize a
          taxing entity to transfer its tax Hen on the property to anyone other than Beneficiary, and not
          request a deferral of the collect ion of taxes pursuant to section 33,06 of the Texas Tux Code;

                 3,     defend title to the properly subject to the other exceptions to conveyance and
          warranty and preserve the lien’s priority as it is established in this deed of trust;

                  4,      maintain all insurance coverages with respect to the property, revenues generated
          by the property, and operations on the property that Beneficiary reasonably requires (“Required
          Insurance Coverages”), issued by insurers and written on policy forms acceptable io Beneficiary,
          and deliver evidence of the Required Insurance Coverages in a form acceptable to Beneficiary at
          least ten days before the expiration of the Required Insurance Coverages;

                   5,        obey all laws, ordinances, and restrictive covenants applicable to the property;

                   6,        keep any buildings occupied as required by the Required Insurance Coverages;

                  7,      if the lien of this deed of trust is not a first lien, pay or cause- to bo paid all prior
          lien notes and abide by or cause to be abided by all prior lien instruments; and

                   8,         notify Beneficiary of any change of address,

          B,       Bcuei’ieinry’s Rights

                 1,       Beneficiary may appoint in vrnting a substitute trustee, succeeding to all rights and
          responsibilities of Trustee,

                 2,       Jf the proceeds of the note arc used to pay any debt secured by prior liens,
          Beneficiary is subrogated to ail the rights and liens of the holders of any debt so paid.

                 3,      Beneficiary may apply any proceeds received under the property insurance policies
          covering the property either to reduce the note or to repair or replace damaged or destroyed
          improvements covered by the policy. If the property is Grantor's primary residence and
          Beneficiary reasonably determines that repairs to the, improvements are economically feasible,
          Beneficiary will make (tie insurance proceeds available, to Grantor for repairs,

                   4,      Notwithstanding the terms of the note to the contrary, and unless applicable law
          prohibits, all payments received by Beneficiary from Grantor with respect to the note- or this deed
          of trust may, at Beneficiary’s discretion, be applied first to amounts payable under this deed of
          trust and then to amounts due and payable to Beneficiary with respect to the note, to be applicd.to
          late, charges, principal, or interest in the order Beneficiary in its discretion determines.


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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 27 of
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                  5,     If Grantor tails to perforin any of Grantor's obligations, Beneficiary may perform
          those obligations ami bo reimbursed by Grantor on demand for any amounts so paid, including
         'attorney's fees, pins interest on those amounts from the dates of payment at the rate slated in the
          note for matured, unpaid amounts, The amount to be reimbursed will be secured by this deed of
          trust,

                (i.     If a default exists in payment of the note or performance of Grantor’s obligations
         and the default continues after any required notice of the default and (he time allowed to cure,
         Beneficiary may—

                             a,        declare the unpaid principal balance and earned interest on the note
                                       immediately due;

                             b,        exercise Beneficiary's rights will) respect io rent under the Texas Property
                                       Code, as (hen in effect;

                             e,        direct Trustee to foreclose this lien, in which case Beneficiary or
                                       Beneficiary's agent will cause notice of the foreclosure sale to be given as
                                       provided by the Texas Property Code as then in effect; and

                             d,        purchase the property at any foreclosure sale by offering the highest bid
                                       and then have the bid credited on the note.

                7,     Beneficiary may remedy any default without waiving it and may waive any default
         without waiving any prior or subsequent default,

         C.        Trustee’s Rights and Dufies

                   If directed by Beneficiary to foreclose this lien. Trustee will—

                1,     either personally or by agent give notice of the foreclosure sale ns required by the
         Texas Property Code as then in effect;

                2,     sell and convey all or part of the property “AS IS” to the highest bidder for cash
         whir a genera! warranty binding Grantor, subject to prior lions and to the other exceptions to
         conveyance and warranty and without representation or warranty, express or implied, by Trustee;

                   3,         from the proceeds of the sale, pay, in this order—

                              a,        expenses of foreclosure, including a reasonable commission to Trustee;

                              b,        to Beneficiary, the full amount of principal, interest, attorney’s fees, and
                                        other charges due and unpaid;

                              c,        any amounts required by Saw to be paid before payment to Grantor; and

                              d,        to Grantor, any balance; and

                 4,     be indemnified, held harmless, and defended by Beneficiary against all costs,
          expenses, and liabilities incurred by Trustee for acting in the execution or enforcement of the trust

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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 28 of
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          created by this deed of trust, which includes all court and other costs, including attorney's fees,
          incurred by Trustee in defense of any action or proceeding taken against Trustee in that capacity,

          1),        General Provisions

                  1,      If any of the property is sold under this deed of trust, Grantor must Immediately
          surrender possession to the purchaser. If Grantor fails to do so, Grantor will become a tenant at
          sufferance of tire purchaser, subject to an action for forcible detainer,

                     2,          Recitals in any trustee’s deed convoying the property will be presumed to be true,

                  3,    Proceeding under lifts (loud of trust, filing suit for foreclosure, or pursuing any
          other remedy will not constitute an election of remedies,

                  4,       This (ten will remain superior to liens later created even if tire time of payment of
          all or part of the, note is extended or part of the properly is released.

                5i      If any portion of the note cannot bo lawfully secured by this deed of (rust,
          payments will be applied first to discharge that portion.

                  6.      Grantor assigns to Beneficiary all amounts payable to or received by Grantor from
          condemnation of ail or part of the properly, from private sale in lieu of condemnation, and from
          damages caused by public works or construction on or near the property, After deducting any
          expenses incurred, including attorney’s fees and court and other costs, Beneficiary will either
          release any remaining amounts to Grantor or apply such amounts to reduce the note. Beneficiary
          will not l>c.liable for failure to collect or to exercise diligence in collecting any such amounts,
          Grantor will immediately give Beneficiary notice of any actual or threatened proceedings for
          condemnation of al! or part of the property,

                   7.     Grantor collaterally assigns to Beneficiary ail present and future rent from the
          property and its proceeds, Grantor warrants the validity and enforceability of the assignment.
          Grantor will apply all rent to payment of the note and performance of this deed of trust, but if the
          rent exceeds (ho amount due with respect to the note and tiie deed of trust, Grantor may retain the
          excess. If a default exists in payment of the, note or performance of this deed of trust, Beneficiary
          may exercise Beneficiary’s rights with respect to rent under tire Texas Property Code, as (hen in
          effect. Beneficiary neither has nor assumes any obligations as lessor or landlord with respect to
          any occupant of the properly. Beneficiary may exercise Beneficiary’s rights and remedies under
          tiris paragraph without taking possession of the property. Beneficiary will apply ail rent collected
          under this paragraph as required by the Texas Property Code, as then in effect. Beneficiary is not
          required to act under this paragraph, and acting under this paragraph docs not waive any of
          Beneficiary’s other rights or remedies.

                  8.      Interest on the debt secured by this deed of trust will not exceed the maximum
          amount of nonuxurious interest that may be. contracted for, taken, reserved, charged, or received
          under law. Any interest in excess of that maximum amount will be credited on the principal of the
          debt or, if that lias been paid, refunded. On any acceleration or required or permitted prepayment,
          any such excess will be canceled automatically as of the acceleration or prepayment or, if already
          paid, credited on die principal of the debt or, if the principal of the debt has been paid, refunded,


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          This provision overrides any conflicting provisions in this and all other instruments concerning
          the debt.

                 9,      In no event may this deed of trust secure payment of any debt that may not
          lawfully be secured by a lien on real estate or create a lieu otherwise prohibited by law,

                  10,     If Grantor transfers any part of the property without Beneficiary’s prior written
          consent, Beneficiary may declare the note immediately payable and invoke any remedies
          provided in this deed of trust for default, If the property is residential real property containing
          fewer than five dwelling units or a residential manufactured home, this provision docs not apply
          to (a) a subordinate iien or encumbrance that (loos not transfer rights of occupancy of the
          property; (b) creation of a purchase-money security interest for household appliances; (c) grout of
          a leasehold interest of three years or less without an option to purchase; (d) transfer to a spouse or
          children of Grantor; (e) transfer to a relative of Grantor on Grantor's death; (f) a transfer resulting
          from a decree of a dissolution of marriage,, a legal separation agreement, or an incidental property
          settlement agreement by which the spouse of Grantor becomes mi owner of the property; or (g)
          transfer to an inter vivos trust in which Grantor is and remains a beneficiary and occupant of the
          property.

                    11,       When the context requires, singular nouns and pronouns include the plural,

                 12,     The term note includes all extensions, modifications, and renewals of the note and
          all amounts secured by this deed of trust.

                   13,        This deed of trust binds, benefits, and may be enforced by successors in interest of
          all parties,

                    14,       If Grantor and Maker arc not the same person, the term Grantor includes Maker,

                   15,   Grantor and each surety, endorser, and guarantor of (he note waive, to the extent
          permitted by law, all (a) demand for payment, (b) presentation for payment, (c) notice ofintention
          to accelerate maturity, (d) notice of acceleration of maturity, (e) protest, (f) notice of protest, and
          (g) rights under sections 51.003 and 51.004 of the Texas Property Code,

                  10.    Grantor agrees to pay reasonable attorney’s fees, trustee’s fees, and court, and other
          costs of enforcing Beneficiary’s rights under this deed of trust if this deed of trust is placed in the
          hands of an attorney for enforcement,

                  17,     If any provision of this deed of (rust is determined to bo invalid or unenforceable,
          the validity or enforceability of any other provision will not be affected,

                 18,           Grantor represents that this deed of trust and the note are given for the following
          purposes:

                          This deed of trust is given to comply with the Final Decree of Divorce and
                  obligation imposed therein in Cause Mo, 13-2647, rendered by the 428* Judicial
                  District Court of Hays County, Texas, styled “in the Matter of the Marriage of
                  K.R.J. and AJ. and in the interest of'R.A,,!,, C.A.J, and G.G.J., minor children,"


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                                                                   Alexander Hmerick Jones

          STATE OF TEXAS                                       )

          COUNTY OP                             }
              Tills Instrument was acknowledged before me on M\Cc\\                                      \        by the

          Back of the Moon, undersigned Alexander Emedek Jones, Grantor




                                                                   ■Notary Public, State of Texas

                                  ItMOTHY JAMES FRU6t
                               Motoiy Public, Slots ol Texas
                 fVA
                   aHh ""       My Commission Sxphes
                                       ApiSI 2), 2016
                   30?



          After Recording! Return To!

          James S, Gilbreath
          1301 S, Capital of Texas Highway
          Suite C-120
          Austin, Texas   78746




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                                        97




                                     EXHIBIT B

                              Affidavit of Randall Wilhite
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 32 of
                                        97




                                    Affidavit of Randall Wilhite




    Before me, the undersigned authority, personally appeared, Randall Wilhite, a person known to
    me who upon his oath, stated as follows:


    1. My name is Randall Wilhite. I am over 21 years of age, have never been convicted of a felony
    and am fully competent to provide this affidavit. All the matters stated herein are within my
    personal knowledge and are true and correct.

    2.1 am an attorney licensed to practice law in the State of Texas since 1979.1 am shareholder with
    the firm of Fulleinveider Wilhite, P.C. in Houston and Austin, Texas. At all material times relevant
    to this affidavit, 1 was one of the counsel representing Alex Jones in connection with Cause No.
     13-2647 styled in the Matter of the Marriage of ICRJ and A.J. in the 428th Judicial District Court
    of Hays County, Texas (the “Divorce Action”). I am also one of the counsel representing Mr. Jones
    in Cause No. D-l-FM-15-005030 styled Alexander Jones v. Kelly Jones, (the “Pending Action”)
    which was pending in the State District Court of Travis County, Texas and which is the subject of
    a “Notice of Removal” filed by Kelly Jones on February 7, 2020. A true and correct copy of the
    notice of removal is attached hereto as Exhibit B-l.

    3. Attached to this affidavit as Exhibit B-2 is a true and correct copy of the portion of the Final
    Rendition entered in the Divorce Action related to the Court’s findings of value for the “Back of
    the Moon Property” and the “Pedernales Property”.

    4. Attached to this affidavit as Exhibit B-3 is a true and correct copy of the Suggestion of
    Bankruptcy filed by Kelly Jones in the Pending Action.


    Further affiant sayeth not.




                                                  Randall Wilhite

    State of6| jk
    County of f^Lh
    My commission expires :       4, - l




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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 33 of
                                        97




                                   EXHIBIT B-l

                                 Notice of Removal
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 34 of
                                        97




                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS                      2020 FEB-7 PM 5= 0
                             AUSTIN DIVISION

      Alexander E. Jones,                    §
          Petitioner,                        §

      v.                                     §   Civil
                                             §   Removed from Travis County
      Kelly R. Jones,                        §   District Court Cause No.
          Respondent.                        §   D-l-FM-15-005030 (261st Dist).

                                    Kelly R. Jones’
                      NOTICE OF BANKRUPTCY REMOVAL
                      28 U.S.C. §1452 and Rule 9027 of the
                     Federal Rules of Bankruptcy Procedure

      TO THE HONORABLE JUDGE OF SAID COURT:

      1.    I, the undersigned Kelley R. Jones, Defendant/Respondent and

      Counter-petitioner to Alexander E. Jones’ Petition to Modify Custody of

      three minor children R.A.J., C.A.J., and G.C.J., hereby file this my Notice of

      Bankruptcy Removal pursuant to 28 U.S.C. §§1334 & 1452, as well as Rule

      9027 of the Federal Rules of Bankruptcy Procedure.

      2.    This Notice of Removal is Timely because I filed my Involuntary

      Petition against Alexander Emric Jones on January 24, 2020.

      3.    I attach the docket for 20-10118-hem (through February 4, 2020) as

      Exhibit A to this Notice of Removal.

      4.    The Texas Family Code case herein removed both arises from and

      touches upon the same series of transactions & occurrences as give rise to
      Notice of Bankruptcy Removal Pursuant to 28 U.S.C. §§1334 & 1452        1
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 35 of
                                        97




      my involuntary bankruptcy procedure against Alexander Emric Jones,

      arising from my acceleration of his note (See Exhibit B) and deeds of trust

      securing our divorce settlement. (Exhibits C & D).

      5.    Within the structure and context of the Involuntary Bankruptcy

      proceedings, I plan on foreclosing on his note and selling his houses

      pursuant to the deeds of trust.

      6.    The debt constituting the basis for involuntary bankruptcy qualifies

      as a domestic relations debt for the following reasons:

      7.    Under current law, a domestic support obligation is defined as a debt

      that accrues before, on or after the date of the order for relief. To quality as

      a domestic support obligation, the debt must satisfy four requirements:

                  [the debt must be]
                  (A) owed to or recoverable by—
                  (i) a spouse, former spouse, or child of
                  the debtor or such child’s parent, legal
                  guardian, or responsible relative;
                  or
                  (ii) a governmental unit TIT
                  (B) in the nature of alimony, maintenance,
                  or support TTT of such
                  spouse, former spouse, or child of
                  the debtor or such child’s parent,
                  without regard to whether such debt
                  is expressly so designated:
                  (C) established TTT by reason of TTT
                  (i) a separation agreement, divorce
                  decree, or property settlement agreement;
                  (ii) an order of a court of record TTT
                  (D) not assigned to a nongovernmental
      Notice of Bankruptcy Removal Pursuant to 28 U.S.C. §§1334 & 1452              2
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 36 of
                                        97




                   entity, unless ITT assigned voluntarily
                   TTT for the purpose of collecting
                   the debt.
                   11 U.S.C. § ioi(i4A) (2006).

       8.    There is absolutely no question that the obligations arising from my

       divorce from Alexander Emric Jones evidenced by the documents attached

      in Exhibits B, C, and D qualify as domestic support obligations.

                                 PRAYER FOR RELIEF

       9.    WHEREFORE, I ask, move, and pray that this Court take notice of

       my Notice of Removal pursuant to 28 U.S.C. §1452.

       10.   I pray that this Court honor my demand for trial-by-jury in all aspects

       and elements of the case herein removed, including declaratory judgment.

       11.   I ask, move, and pray that the Court take note of the 261st Texas

       District Court’s repeated denial of my equal rights to offer and present

       evidence in Court and its intentional, arbitrary, irrational and unjustified

       denial of equal access to the courts in violation of 42 U.S.C. §1981.

       12.   I ask, move, and pray that this Court certify me as a “Class of One” for

       purposes of analyzing the denial of equal protection against me in the

      Travis County District Court’s handling of the case of Jones v. Jones.

       13.   This court should rea my present Notice of Removal in conjunction

      with my anticipated Rule 59(e) motion to amend or alter judgment, and/or

      under Rule 60 for relief from judgment, of this court’s previous rotely
      Notice ofBankruptcy Removal Pursuant to 28 U.S.C. §§1334 & 1452      3
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 37 of
                                        97




      written order of remand filed and entered January 15, 2020 in case i:20-cv-

      00009-LY.

            Signed, Served, and Executed in Austin, Texas, on this Friday, 7th

      day of February, 2020.

                                         Respectfully Submitted,




                                         Kelly R. J     :s in propria persona,
                                         Removing Respondent, pro se
                                         From Travis County 261st District Court
                                         Texas Civil Cause No. D-1-FM-005030
                                         11601 Iiwy 290 W.
                                         Suite A101-307
                                         Austin, Texas 78737
                                         Designated Legal Ph# 888-995-3559




      Notice of Bankruptcy Removal Pursuant to 28 U.S.C. §§133481:1452           4
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 38 of
                                        97




                                   VERIFICATION

            The undersigned states under oath: “I am the Removing Respondent

       in the above-and-foregoing Notice of Bankruptcy Removal.” I have read

       and reviewed the statements contained therein, and all the facts stated

       herein are within my personal knowledge and are true and correct.




                                               Kelly R. Jones, pro js'e
                                               Petitioner, in propria persona

                                    Notary’s Jurat

            Kelly R. Jones, a person known to me and/or presenting legally

      sufficient identification, SIGNED under oath in person before me on

      Friday, February 7, 2020.




      My Commission Expires:__




      Notice ofBankruptcy Removal Pursuant to 28 U.S.C. §§1334 & 1452       5
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 39 of
                                        97




                               Exhibit A:
                  Austin Bankruptcy Docket
                        20-10118-hcm
                 In Re Alexander Emric Jones
                       Filed 01/24/2020




      Notice ofBankruptcy Removal Pursuant to 28 U.S.C. §§1334 & 1452
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 40 of
                                        97
2/3/2020                                                             U.S.B.C. Western District of Texas (LIVE)

                                                        IJ.S. Bankruptcy Court
                                                   Western District of Texas (Austin)
                                                  Bankruptcy Petition #: 20-10118-hcm
                                                                                                         Date filed: 01/24/2020
Assigned to: Bankruptcy Judge H. Christopher Mott
Chapter 11
Involuntary


Debtor                                                                                      represented by Alexander Emric Jones
Alexander Emric Jones                                                                                      PRO SE
3019 Alvin DeVane Boulevard #350
Austin, TX 78741
TRAVIS-TX
SSN / ITIN: xxx-xx-0000
aka Alexander Emerick Jones
aka Alex Jones
aka Alexander E. Jones

Petitioning Creditor
Kelly R. Jones
11601 HWY 290 W
Suite A101-307
Austin, TX 78737
888-995-3559


     Filing Date                        #                   clear                                         Docket Text

                                            6                             BNC Certificate of Mailing (Related Document(s); 4 Order
                                            (2 Pgs)                       Granting Motion to Redact (related document(s): 3 Motion to
                                                                          Redact Debtor's Home Address- Restricted Document (Fee
                                                                          Amount $25.00) filed by Petitioning Creditor Kelly R. Jones
                                                            202.48
                                                             KB
                                                                          (Benitez, Estella). Related document(s) 1 Involuntary Petition
                                                                          Chapter 11 filed by Debtor Alexander Emric Jones, Petitioning
                                                                          Creditor Kelly R. Jones.) (Order entered on 1/31/2020))
   02/02/2020                                                             Notice Date 02/02/2020. (Admin.)

                                            4                             Order Granting Motion to Redact (related document(s): 3
                                            (Ipg)                         Motion to Redact Debtor's Home Address- Restricted
                                                                          Document ( Fee Amount $25.00) filed by Petitioning Creditor
                                                            75.S54        Kelly R. Jones (Benitez, Estella). Related document(s) 1
                                                             KB           Involuntary Petition Chapter 11 filed by Debtor Alexander
                                                                          Emric Jones, Petitioning Creditor Kelly R. Jones.) (Order
   01/31/2020                                                             entered on 1/31/2020) (Benitez, Estella)

                                            3                             Motion to Redact Debtor's Home Address- Restricted
                                                                          Document (Fee Amount $25.00) filed by Petitioning Creditor
                                                                          Kelly R. Jones (Benitez, Estella). Related document(s) 1.
                                                                          Involuntary Petition Chapter 11 filed by Debtor Alexander
                                                                          Emric Jones, Petitioning Creditor Kelly R. Jones. (Entered:
   01/29/2020                                                             01/30/2020)

https://ecf.txwb.uscourts.gov/cgi'bin/DktRpt,pl?677669710225708-L_I_0-5                                                                    1/2
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 41 of
                                        97
213/2020                                                              U.S.B.C. Western District of Texas (LIVE)


   01/29/2020                                                             Receipt of Redact Previously Filled Records - $25.00 by BT.
                                                                          Receipt Number 102453, (admin)

                                            5                             Corrected Involuntary Petition filed to Redact Principal
                                            (23 pgs)        0.76339       Residence - filed by Petitioning Creditor Kelly R. Jones.
   01/24/2020                                                MB           (Benitez, Estelia). (Entered: 01/31/2020)

                                                                          Receipt of Chapter 11 Filing Fee - $1717.00 by AW. Receipt
   01/24/2020                                                             Number 102447. (admin)

                                            2
                                                                          Involuntary Case - Summons(es) Issued on Alexander Emric
                                            (2 pgs)        431.045
   01/24/2020                                                KB           Jones (Wallace, Adam)

                                            i                             Involuntary Petition under Chapter 11 (Individual) (Filing
                                                                          Fee: $ 1717.00) Re: Alexander Emric Jones Filed by
   01/24/2020                                                             Petitioning Creditor(s):Kelly R. Jones. (Wallace, Adam)




  view Selected                 Total fiie size of selected documents (MB):
 or                             Maximum file size allowed (MB): 1
  Download Selected



                                      |                       PACER Service Center
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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 42 of
                                        97




                                  Exhibit B:
                 Promissory Note aka
               “Real Estate Lien Note”
                   March 19, 2015
         Executed by Alexander Emerick Jones
                      in favor of
                    Kelly R. Jones
        If Maker defaults in the payment of this note or in the performance of any
        obligation in any instrument securing or collateral to this note, Payee may
            declare the unpaid principal balance, earned interest, and any other
           accounts owed on the note immediately due. Maker and each surety,
           endorser, and guarantor waive, to the extent permitted by law, all (a)
       demand for payment, (b) presentation of payment, (c) notice of intention to
         accelerate maturity, (d) notice of acceleration of maturity, (e) protest, (f)
         notice of protest, and (g) rights under sections 51*003 and 51.004 of the
                                    Texas Property Code.




      Notice ofBankruptcy Removal Pursuant to 28 U.S.C. §§1334 & 1452                7
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 43 of
                                        97




                                            Real Estate Lien Note
                                   if 'X'Af
         Date:

         Maker: Alexander Emerick Jones

         Maker’s Mailing Address: 101 Colorado Street, #3605, Austin, Travis County, Texas 78703

         Payee: Kelly R. Jones, as her sole and separate property and estate

        Place for Payment: 12250 Trautwein Road, Austin, Hays County, Texas

        Principal Amount: Two Million Seven Hundred and Twenty-Seven Thousand nine hundred and
        Fifty-One and No/100 Dollars ($2,727,951)

        Annual Interest Rate: Five percent (5%)

        Annual Interest Rate on Matured, Unpaid Amounts: Five percent (5%),

        Terms ofPayment (principal and interest):

                Principal and interest on this Real Estate Lien Note (“Note”) are due and payable in
        monthly installments of Forty-Three Thousand Nine Hundred Thirty-Three and No/100 Dollars
        ($43,933.00) each, beginning forty-five days after the signing of the Final Decree of Divorce
        between Payee and Maker in Cause No 13-2647, In the Matter of the Marriage of K.R.J. and
        A.J., by the Presiding Judge qf the 428ib Judicial District Court of Hays County, Texas, and
        continuing on the same day of each following calendar month until all payments of principal and
        interest called for herein have been paid in full. Payments shall be sent to 12250 Trautwein
        Road, Austin, Texas 78737.

        Security for Payment:

                This Note is secured by two deeds of Trust dated of even date herewith by Maker for the
        benefit of Payee, The Deeds of Trust grant Payee a lien on the following real property:

                 15101 Back of the Moon St D., Austin, TX 78734, legally described as Lot 3,
                 Amended Plat Of Back Of The Moon Subdivision, A Subdivision in Travis
                 County, Texas, According to tire Map Or Piat Thereof Recorded In Volume 93,
                 Page 282, Of The Plat Records Of Travis County, Texas, and

                 Pedernates Hills Ranch, Lot 18, 5.01 Acres, legally described as BEING Tract
                 18, Pedernales Hills Ranches, a subdivision situated in Blanco County, Texas,
                 according to Plat in Volume l, Page 123-126, Plat Records of Blanco County,
                 Texas; together with ingress and egress easement more particularly described in
                 Volume 112, Page 782, Deed Records of Bianco County, Texas.



                 Maker promises to pay to the order of Payee the principal amount plus interest at the

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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 44 of
                                        97




        annual interest rate. This note is payable at the place for payment and according to the terms of
        payment. All unpaid amounts are due by the maturity date. If any amount is not paid either when
        due under the terms of payment or on acceleration of maturity, Maker promises to pay any
        unpaid amount plus interest from the date the payment was due to the date of payment at the
        annual interest rate on matured, unpaid amounts,

                Maker may prepay this note in any amount at any time before the maturity date without
        penalty or premium. Prepayments will be applied to installments on the last maturing principal,
        and interest on that prepaid principal will immediately cease to accrue.

                If Maker defaults in the payment of this note or in the performance of any obligation in
        any instrument securing or collateral to this note, Payee may declare the unpaid principal
        balance, earned interest, and any other amounts owed on tire note immediately due. Maker and
        each surety, endorser, and guarantor waive, to the extent permitted by law, all (a) demand for
        payment, (b) presentation for payment, (c) notice of intention to accelerate maturity, (d) notice of
        acceleration of maturity, (e) protest, (f) notice of protest, and (g) rights under sections 51,003 and
        51.004 of the Texas Property Code.

                Maker also promises to pay reasonable attorney’s fees and court and other costs if this
        note is placed in the hands of an attorney to collect or enforce the note. These expenses will bear
        interest from the date of advance at the annual interest rate on matured, unpaid amounts. Maker
        will pay Payee these expenses and Interest on demand at the place for payment, These expenses
        and interest will become part of the debt evidenced by the note and will be secured by any
        security for payment.

                Interest on the debt evidenced by this note will not exceed the maximum rate or amount
        of nonusurious interest that may be contracted for, taken, reserved, charged, or received under
        law. Any interest in excess of that maximum amount will be credited on the principal amount or,
        if the principal amount has been paid, refunded. On any acceleration or required or permitted
        prepayment, any excess interest will be canceled automatically as of the acceleration or
        prepayment or, if the excess interest has already been paid, credited on the principal amount or,
        if the principal amount has been paid, refunded. This provision overrides any conflicting
        provisions in this note and all other instruments concerning the debt.

                 Each Maker is responsible for all obligations represented by this note,

                 When the context requires, singular nouns and pronouns include the plural.

               This note is given to evidence the indebtedness imposed on Maker by the Final Decree of
        Divorce entered in Cause No. 13-2647 by the District Court of Hays County, Texas, styled "In
        the Matter of the Marriage of K.RJ. and A,J.
        minor children,”


                                                      Alexander Emevick Jones, Make|
                                                      101 Colorado St., #3605     f
                                                      Austin, Texas 78703



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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 45 of
                                        97




                                Exhibit C:
             Alexander Emerick Jones’
               Grant of Deed of Trust
          In 15101 Back of the Moon St. D.
          Austin, Tx 78734 (Travis County)
                   March 19, 2015
      If 15. Grantor and each surety, endorser, and guarantor of the note waive, to
        the extent permitted by law, all (a) demand for payment, (b) presentation
          for payment, (c) notice of intention to accelerate maturity, (d) notice of
          acceleration of maturity, (e) protest, (f) notice of protest, and (g) rights
               under sections 51.003 and 51.004 of the Texas Property Code.




      Notice of Bankruptcy Removal Pursuant to 28 U.S.C. §§1334 & 1452              8
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 46 of
                                        97




                                                      DeedofTrus£-         S’O'X'

         Date;

         Grantor: Alexander Emerick Jones

         Grantor’s Mailing Address: 101 Colorado Street, #3605, Austin, Travis County, Texas 78703

         Trustee: James S. Gilbreath

         Trustee’s Mailing Address: 1301 S. Capital of Texas Highway, Suite C-120, Austin, Travis
         County, Texas 78746

         Beneficiary: Kelly R, Jones

         Beneficiary’s Mailing Address: 12250 Trautwein Road, Austin, Hays County, Texas 78737

         Note                                                                                                 M.a>i£
                                                                                 Piled ihte,        day of.
                      Date:                                                                          / i ■ 34 A m
                      Original Principal Amount: $2,727,951,00                                  Laura Waits
                                                                                     Gaunty Olerk, Blanco County, Texas
                      Maker: Alexander Emerick Jones                                                               .Deputy

                      Payee: Kelly R. Jones

                 Maturity Date: Payable in 72 equal monthly installments of $43,933.00 each beginning 45
         days after the signing of the Final Decree of Divorce in Cause No. 13-2647 by the Presiding
         Judge of the 428* Judicial District Court of Hays County, Texas.

         Property (including any improvements):

                      Pedernales Hilis Ranch, Lot 18,5.01 Acres, legally described as BEING Tract 18,
                      PEDBRNALES HILLS RANCHES, a subdivision situated in Bianco County,
                      Texas, according to Plat in Volume 1, Page 123-126, Plat Records of Blanco
                      County, Texas; TOGETHER WITH ingress and egress easement more
                      particularly described in Volume 112, Page 782, Deed Records of Blanco County,
                      Texas.

         Prior Lien(s): None,

         Other Exceptions to Conveyance and Warranty: None.

                 For value received and to secure payment of the note, Grantor conveys the property to
         Trustee in trust. Grantor warrants and agrees to defend the title to the property, subject to the
         other exceptions to conveyance and warranty. On payment of the note and ail other amounts
         secured by this deed of trust, this deed of trust will have no further effect, and Beneficiary will ;
         release it at Grantor's expense.

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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 47 of
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                                                   Clauses and Covenants

         A.        Grantor’s Obligations

                   Grantor agrees to—

                   L         keep the property in good repair and condition;

                 2.      pay all taxes and assessments on the property before delinquency, not authorize a
         taxing entity to transfer its tax lien on the property to anyone other than Beneficiary, and not
         request a deferral of the collection of taxes pursuant to section 33.06 of the Texas Tax Code;

                3.     defend title to the property subject to the other exceptions to conveyance and
         warranty and preserve the lien’s priority as it is established in this deed of trust;

                 4.      maintain all insurance coverages with respect to the property, revenues generated
         by the property, and operations on the property that Beneficiary reasonably requires (“Required
         Insurance Coverages”), issued by insurers and written on policy forms acceptable to Beneficiary,
         and deliver evidence of the Required Insurance Coverages in a form acceptable to Beneficiary at
         least ten days before the expiration of the Required Insurance Coverages;

                   5.        obey ail laws, ordinances, and restrictive covenants applicable to the property;

                   6.        keep any buildings occupied as required by the Required Insurance Coverages;

                 7.      if the lien of this deed of trust is not a first lien, pay or cause to be paid all prior
         lien notes and abide by or cause to be abided by all prior lien instruments; and

                   8.        notify Beneficiary of any change of address.

         B.      Beneficiary’s Rights

                1.       Beneficiary may appoint in Writing a substitute trustee, succeeding to all rights and
         responsibilities of Trustee.

                2.       If the proceeds of the note are used to pay any debt secured by prior liens,
         Beneficiary is subrogated to all the rights and liens of the holders of any debt so paid.

                3.      Beneficiary may apply any proceeds received under the property insurance policies
         covering the property either to reduce the note or to repair or replace damaged or destroyed
         improvements covered by the policy. If the property is Grantor’s primary residence and
         Beneficiaiy reasonably determines that repairs to the improvements are economically feasible,
         Beneficiary will make the insurance proceeds available to Grantor for repairs.

                 4.      Notwithstanding the terms of the note to the contrary, and unless applicable law
         prohibits, all payments received by Beneficiary from Grantor with respect to the note or this deed
         of trust may, at Beneficiaryts discretion, be applied first to amounts payable under this deed of
         trust and then to amounts due and payable to Beneficiary with respect to the note, to be applied .to
         late charges, principal, or interest in the order Beneficiary in its discretion determines.


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                5.     If Grantor fails to perform any of Grantor’s obligations, Beneficiary may perform
         those obligations and be reimbursed by Grantor on demand for any amounts so paid, including
         attorney’s fees, plus interest on those amounts from the dates of payment at the rate stated in the
         note for matured, unpaid amounts. The amount to be reimbursed will be secured by this deed of
         trust.

                6.     If a default exists in payment of the note or performance of Grantor’s obligations
         and the default continues after any required notice of the default and the time allowed to cure,
         Beneficiary may—

                            a.        declare the unpaid principal balance and earned interest on the note
                                      immediately due;

                            b.        exercise Beneficiary’s rights with respect to rent under the Texas Property
                                      Code, as then in effect;

                            o.        direct Trustee to foreclose this lien, in which case Beneficiary or
                                      Beneficiary’s agent will cause notice of the foreclosure sale to be given as
                                      provided by the Texas Property Code as then in effect; and

                            d.        purchase the property at any foreclosure sale by offering the highest bid
                                      and then have the bid credited on the note.

                7,     Beneficiary may remedy any default without waiving it and may waive any default
         without waiving any prior or subsequent default.

         C.        Trustee’s Righ ts and Duties

                   If directed by Beneficiary to foreclose this lien, Trustee will—

               1.     either personally or by agent give notice of the foreclosure sale as required by the
        Texas Property Code as then in effect;

               2.     sell and convey ail or part of the property "AS IS” to the highest bidder for cash
        with a general warranty binding Grantor, subject to prior liens and to the other exceptions to
        conveyance and warranty and without representation or warranty, express or implied, by Trustee;

                   3.       from the proceeds of the sale, pay, in this order—

                            a.        expenses of foreclosure, including a reasonable commission to Trustee;

                            b.        to Beneficiary, the full amount of principal, interest, attorney’s fees, and
                                      other charges due and unpaid;

                            c.        any amounts required by law to be paid before payment to Grantor; and

                            d.        to Grantor, any balance; and

               4.      be indemnified, held harmless, and defended by Beneficiary against all costs,
        expenses, and liabilities incurred by Trustee for acting in the execution or enforcement of the trust

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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 49 of
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         created by this deed of trust, which includes all court and other costs, including attorney’s fees,
         incurred by Trustee in defense of any action or proceeding taken against Trustee in that capacity.

         D.      General Provisions

                 1.     If any of the property is sold under this deed of trust, Grantor must immediately
         surrender possession to the purchaser. If Grantor fails to do so, Grantor will become a tenant at
         sufferance of the purchaser, subject to an action for forcible detainer.

                  2.       Recitals in any trustee’s deed conveying the property will be presumed to be true.

                 3.    Proceeding under this deed of trust, filing suit for foreclosure, or pursuing any
         other remedy will not constitute an election of remedies.

                 4.       This lien will remain superior to liens later created even if the time of payment of
         all or part of the note is extended or part of the property is released.

               5;      If any portion of the note cannot be lawfully secured by this deed of trust,
         payments will be applied first to discharge that portion.

                 6.     Grantor assigns to Beneficiary all amounts payable to or received by Grantor from
         condemnation of all or part of the property, from private sale in lieu of condemnation, and from
         damages caused by public works or construction on or near the property. After deducting any
         expenses incurred, including attorney’s fees and court and other costs, Beneficiary will either
         release any remaining amounts to Grantor or apply such amounts to reduce the note, Beneficiary
         will not be liable for failure to collect or to exercise diligence in collecting any such amounts.
         Grantor will immediately give Beneficiary notice of any actual or threatened proceedings for
         condemnation of all or part of the property.

                 7.      Grantor collaterally assigns to Beneficiary all present and future rent from the
         property and its proceeds, Grantor warrants the validity and enforceability of the assignment.
         Grantor will apply all rent to payment of the note and performance of this deed of trust, but if the
         rent exceeds the amount due with respect to the note and the deed of trust, Grantor may retain the
         excess, If a default exists in payment of the note or performance of this deed of trust, Beneficiary
         may exercise Beneficiary’s rights with respect to rent under the Texas Property Code, as then in
         effect. Beneficiary neither has nor assumes any obligations as lessor or landlord with respect to
         any occupant of the property. Beneficiary may exercise Beneficiary’s rights and remedies under
         this paragraph without taking possession of the property. Beneficiary will apply all rent collected
         under this paragraph as required by the Texas Property Code, as then in effect. Beneficiary is not
         required to act under this paragraph, and acting under this paragraph does not waive any of
         Beneficiary’s other rights or remedies.

                8.       Interest on the debt secured by this deed of trust will not exceed the maximum
        amount of nonusurious interest that may be. contracted for, taken, reserved, charged, or received
        under law. Any interest in excess of that maximum amount will be credited on the principal of the
        debt or, if that has been paid, refunded. On any acceleration or required or permitted prepayment,
        any such excess will be canceled automatically as of the acceleration or prepayment or, if already
        paid, credited on the principal of the debt or, if the principal of the debt has been paid, refunded.


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       . "This provision overrides any conflicting provisions in this and all other instruments concerning
          the debt,

                 9.      In no event may this deed of trust secure payment of any debt that may not
          lawfully be secured by a lien op real estate or create a lien otherwise prohibited by law.

                  10.     If Grantor transfers any part of the property without Beneficiary’s prior written
          consent, Beneficiary may declare the note immediately payable and invoke any remedies
          provided in this deed of trust for default. If the property Is residential real property containing
          fewer than five dwelling units or a residential manufactured home, this provision does not apply
          to (a) a subordinate lien or encumbrance that does not transfer rights of occupancy of the
          property; (b) creation of a purchase-money security interest for household appliances; (c) grant of
          a leasehold interest of three years or less without an option to purchase; (d) transfer to a spouse or
          children of Grantor; (e) transfer to a relative of Grantor on Grantor’s death; (f) a transfer resulting
          from a decree of a dissolution of marriage, a legal separation agreement, or an incidental property
          settlement agreement by which the spouse of Grantor becomes an owner of the property; or (g)
          transfer to an inter vivos trust in which Grantor is and remains a beneficiary and occupant of the
          property,

                    11.        When the context requires, singular nouns and pronouns include the plural,

                 12.     The term note includes all extensions, modifications, and renewals of the nolo and
          all amounts secured by this deed of trust.

                   13.        This deed of trust binds, benefits, and may be enforced by successors in interest of
          all parties.

                    14.       If Grantor and Maker are not the same person, the term Grantor includes Maker.

                 15.    Grantor and each surety, endorser, and guarantor of the note waive, to the extent
         permitted by law, all (a) demand for payment, (b) presentation for payment, (c) notice of intention
         to accelerate maturity, (d) notice of acceleration of maturity, (e) protest, (f) notice of protest, and
         (g) rights under sections 51.003 and 51.004 of the Texas Property Code.

                 16.    Grantor agrees to pay reasonable attorney’s fees, trustee’s fees, and court and other
         costs of enforcing Beneficiary’s rights under this deed of trust if this deed of trust is placed in the
         hands of an attorney for enforcement.

                 17.     If any provision of this deed of trust is determined to be invalid or unenforceable,
         the validity or enforceability of any other provision will not be affected.

                18.           Grantor represents that this deed of trust and the note are given for the following
         purposes:

                        This deed of trust is given to comply with the Final Decree of Divorce and
                obligation imposed therein in Cause No. 13-2647, rendered by the 428th Judicial
                District Court of Hays County, Texas, styled “In the Matter of the Marriage of
                K.RJ. and A.J. and in the Interest of R.A.J., C.A.J. and G.G.J., minor children.”


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                    This instalment was acknowledged before me on ^Wc\\ \\                                    ^^           by the
          Back of the Moon, undersigned Alexander Emerick Jones, Grantor




                                                               Notary Public, State of Texas
                           ,     TJMOJHV JAMES fftUGE
                           %   Notary Public. Stole of Texos
                           *     My Commission Expires
                                     April 21,2018




         After Recording, Return To:

         James S. Gilbreath
         1301 S. Capital of Texas Highway
         Suite C-120
         Austin, Texas   78746




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                               Exhibit D:
                  Alexander Emerick Jones’
                  Grant of Deed of Trust in
                   Pedernales Hills Ranch
                       Blanco County
                       March 19, 2015
      H15. Grantor and each surety, endorser, and guarantor of the note waive, to
      the extent permitted by law, all (a) demand for payment, (b) presentation
      for payment, (c) notice of intention to accelerate maturity, (d) notice of
      acceleration of maturity, (e) protest, (f) notice of protest, and (g) rights
      under sections 51.003 and 51.004 of the Texas Property Code.




      Notice of Banlcruptcy Removal Pursuant to 28 U.S.C. §§1334 & 1452         9
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 53 of
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         Date:

         Grantor: Alexander Emerick Jones

         Grantor’s Mailing Address: 101 Colorado Street, #3605, Austin, Travis County, Texas 78703

         Trustee: James S. Gilbreath

         Trustee’s Mailing Address: 1301 S. Capital of Texas Highway, Suite C-120, Austin, Travis
         County, Texas 78746

         Beneficiary: Kelly R, Jones

         Beneficiary’s Mailing Address: 12250 Trautwein Road, Austin, Hays County, Texas 78737

                                                                                   Pltedth!s.^lk—dayof ^ 20-isL

                      Date:                                                               _________£(.' $4 , Am

                      Original Principal Amount: $2,727,951,00                                    Laura Walls
                                                                               .       County Clerk, Bianco County, Texas
                      Maker: Alexander Emerick Jones                           *               Ilid..                 Dapaiy
                                                                                                                  u
                      Payee: Kelly R. Jones

                Maturity Date: Payable in 72 equal monthly installments of $43,933.00 each beginning 45
         days after the signing of the Final Decree of Divorce in Cause No. 13-2647 by the Presiding
         Judge of the 428,b Judicial District Court of Hays County, Texas.

         Property (including any improvements):

                     Pedernales Hills Ranch, Lot 18,5.01 Acres, legally described as BEING Tract 18,
                     PEDBRNALES HILLS RANCHES, a subdivision situated in Bianco County,
                     Texas, according to Plat in Volume 1, Page 123-126, Plat Records of Blanco
                     County, Texas; TOGETHER WITH ingress and egress easement more
                     particularly described in Volume 112, Page 782, Deed Records of Blanco County,
                     Texas,

         Prior Lien(s): None,

         Other Exceptions to Conveyance and Warranty: None.

                 For value received and to secure payment of the note, Grantor conveys the property to
         Trustee in trust. Grantor warrants and agrees to defend the title to the property, subject to the
         other exceptions to conveyance and warranty. On payment of the note and all other amounts
         secured by this deed of trust, this deed of trust will have no further effect, and Beneficiary will:
         release it at Grantor’s expense.                                                                   ;

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              As


                                                  Clauses and Covenants

         A.        Grantor’s Obligations

                   Grantor agrees to—

                   1.      keep the property in good repair and condition;

                 2.      pay all taxes and assessments on the property before delinquency, not authorize a
         taxing entity to transfer its tax lien on the property to anyone other than Beneficiary, and not
         request a deferral of the collection of taxes pursuant to section 33.06 of the Texas Tax Code;

                3.     defend title to the property subject to the other exceptions to conveyance and
         warranty and preserve the lien’s priority as it is established in this deed of trust;

                 4.      maintain all insurance coverages with respect to the property, revenues generated
         by the property, and operations on the property that Beneficiary reasonably requires (“Required
         Insurance Coverages”), issued by insurers and written on policy forms acceptable to Beneficiary,
         and deliver evidence of the Required Insurance Coverages in a form acceptable to Beneficiary at
         least ten days before the expiration of the Required Insurance Coverages;

                   5.      obey all laws, ordinances, and restrictive covenants applicable to the property;

                   6.      keep any buildings occupied as required by the Required Insurance Coverages;

                 7.      if the lien of this deed of trust is not a first lien, pay or cause to be paid al! prior
         lien notes and abide by or cause to be abided by all prior lien instruments; and

                   8.      notify Beneficiary of any change of address.

         B,        Beneficiary’s Rights

                1.       Beneficiary may appoint in Writing a substitute trustee, succeeding to all rights and
         responsibilities of Trustee.

               2.      If the proceeds of the note are used to pay any debt secured by prior liens,
        Beneficiary is subrogated to all the rights and liens of the holders of any debt so paid.

               3.      Beneficiary may apply any proceeds received under the property insurance policies
        covering the property either to reduce the note or to repair or replace damaged or destroyed
        improvements covered by the policy. If the property is Grantor’s primary residence and
        Beneficiary reasonably determines that repairs to the improvements are economically feasible,
        Beneficiary will make the insurance proceeds available to Grantor for repairs.

                4.      Notwithstanding the terms of the note to the contrary, and unless applicable law
        prohibits, all payments received by Beneficiary from Grantor with respect to the note or this deed
        of trust may, at Beneficiary's discretion, be applied first to amounts payable under this deed of
        trust and then to amounts due and payable to Beneficiary with respect to the note, (o be applied .to
        late charges, principal, or interest in the order Beneficiary in its discretion determines.


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                 5,     If Grantor fails to perform any of Grantor’s obligations, Beneficiary may perform
         those obligations and be reimbursed by Grantor on demand for any amounts so paid, including
         attorney’s fees, plus interest on those amounts from the dates of payment at the rate stated in the
         note for matured, unpaid amounts. The amount to be reimbursed will be secured by this deed of
         trust.

                6.     If a default exists in payment of the note or performance of Grantor’s obligations
         and the default continues after any required notice of the default and the time allowed to cure,
         Beneficiary may—

                               a.        declare the unpaid principal balance and earned interest on the note
                                         immediately due;

                               b,         exercise Beneficiary’s rights with respect to rent under the Texas Property
                                          Code, as then in effect;

                               c,        direct Trustee to foreclose this lien, in which case Beneficiary or
                                         Beneficiary’s agent will cause notice of the foreclosure sale to be given as
                                         provided by the Texas Property Code as then in effect; and

                               d.        purchase the property at any foreclosure sale by offering the highest bid
                                         and then have the bid credited on the note.

               7.     Beneficiary may remedy any default without waiving it and may waive any default
        without waiving any prior or subsequent default.

        C.          Trustee’s Rights and Dufies

                    If directed by Beneficiary to foreclose this lien, Trustee will—

               1.     either personally or by agent give notice of the foreclosure sale as required by the
        Texas Property Code as then in effect;

               2.     sell and convey all or part of the property "AS IS” to the highest bidder for cash
        with a general warranty binding Grantor, subject to prior liens and to die other exceptions to
        conveyance and warranty and without representation or warranty, express or implied, by Trustee;

                    3.        from the proceeds of the sale, pay, in this order—

                              a.         expenses of foreclosure, including a reasonable commission to Trustee;

                              b.         to Beneficiary, the full amount of principal, interest, attorney’s fees, and
                                         other charges due and unpaid;

                              c.         any amounts required by law to be paid before payment to Grantor; and

                              d.         to Grantor, any balance; and

               4.      be indemnified, held harmless, and defended by Beneficiary against all costs,
        expenses, and liabilities incurred by Trustee for acting in the execution or enforcement of the trust

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         created by this deed of trust, which includes all court and other costs, including attorney’s fees,
         incurred by Trustee in defense of any action or proceeding taken against Trustee in that capacity.

         D,       General Provisions

                 1.     If any of the property is sold under this deed of trust, Grantor must immediately
         surrender possession to the purchaser. If Grantor fails to do so, Grantor will become a tenant at
         sufferance of the purchaser, subject to an action for forcible detainer.

                   2.        Recitals in any trustee’s deed conveying the property will be presumed to be true.

                 3.    Proceeding under this deed of trust, filing suit for foreclosure, or pursuing any
         other remedy will not constitute an election of remedies.

                 4.       This lien will remain superior to liens later created even if the time of payment of
         all or part of the note is extended or part of the property is released.

              5;      If any portion of the note cannot be lawfully secured by this deed of trust,
        payments wilt be applied first to discharge that portion.

                6.     Grantor assigns to Beneficiary all amounts payable to or received by Grantor from
        condemnation of all or part of the property, from private sale in lieu of condemnation, and from
        damages caused by public works or construction on or near the property. After deducting any
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        release any remaining amounts to Grantor or apply such amounts to reduce the note. Beneficiary
        will not be.liable for failure to collect or to exercise diligence in collecting any such amounts.
        Grantor will immediately give Beneficiary notice of any actual or threatened proceedings for
        condemnation of all or part of the property.

                7.      Grantor collaterally assigns to Beneficiary all present and future rent from the
        property and its proceeds, Grantor warrants the validity and enforceability of the assignment.
        Grantor will apply all rent to payment of the note and performance of this deed of trust, but if the
        rent exceeds the amount due with respect to the note and the deed of trust, Grantor may retain the
        excess. If a default exists in payment of the note or performance of this deed of trust, Beneficiary
        may exercise Beneficiary’s rights with respect to rent under the Texas Property Code, as then in
        effect. Beneficiary neither has nor assumes any obligations as lessor or landlord with respect to
        any occupant of the property. Beneficiary may exercise Beneficiary’s rights and remedies under
        this paragraph without taking possession of the property. Beneficiary will apply all rent collected
        under this paragraph as required by the Texas Property Code, as then in effect Beneficiary is not
        required to act under this paragraph, and acting under this paragraph does not waive any of
        Beneficiary’s other rights or remedies.

                8.       Interest on the debt secured by this deed of trust will not exceed the maximum
        amount of nonusurious interest that may be. contracted for, taken, reserved, charged, or received
        under iaw. Any interest in excess of that maximum amount will be credited on the principal of the
        debt or, if that has been paid, refunded. On any acceleration or required or permitted prepayment,
        any such excess will be canceled automatically as of the acceleration or prepayment or, if already
        paid, credited on the principal of the debt or, if the principal of the debt has been paid, refunded.


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          This provision overrides any conflicting provisions in this and all other instruments concerning
          tire debt.

                 9.      In no event may this deed of trust secure payment of any debt that may not
          iawfuliy be secured by a lien on real estate or create a lien otherwise prohibited by law.

                 10.     If Grantor transfers any part of the property without Beneficiary’s prior written
         consent, Beneficiary may declare the note immediately payable and invoke any remedies
         provided in this deed of trust for default. If the property is residential real property containing
         fewer than five dwelling units or a residential manufactured home, this provision does not apply
         to (a) a subordinate lien or encumbrance that does not transfer rights of occupancy of the
         property; (b) creation of a purchase-money security interest for household appliances; (c) grant of
         a leasehold interest of three years or less without an option to purchase; (d) transfer to a spouse or
         children of Grantor; (e) transfer to a relative of Grantor on Grantor’s death; (f) a transfer resulting
         from a decree of a dissolution of marriage, a legal separation agreement, or an incidental property
         settlement agreement by which the spouse of Grantor becomes an owner of the property; or (g)
         transfer to an inter vivos trust in which Grantor is and remains a beneficiary and occupant of the
         property,

                    11.      When the context requires, singular nouns and pronouns include the plural.

                12.     The term note includes all extensions, modifications, and renewals of the note and
         all amounts secured by this deed of trust.

                  13.        This deed of trust binds, benefits, and may be enforced by successors in interest of
         ail parties.

                    14.      If Grantor and Maker are not the same person, the term Grantor includes Maker.

                 15.    Grantor and each surety, endorser, and guarantor of the note waive, to the extent
         permitted by law, all (a) demand for payment, (b) presentation for payment, (c) notice of intention
         to accelerate maturity, (d) notice of acceleration of maturity, (e) protest, (f) notice of protest, and
         (g) rights under sections 51.003 and 51.004 of the Texas Property Code.

                 16.    Grantor agrees to pay reasonable attorney’s fees, trustee’s fees, and court and other
         costs of enforcing Beneficiary’s rights under this deed of trust if this deed of trust is placed in the
         hands of an attorney for enforcement.

                 17.     If any provision of this deed of trust is determined to be invalid or unenforceable,
         the validity or enforceability of any other provision will not be affected.

                18.          Grantor represents that this deed of trust and the note are given for the following
         purposes:

                        This deed of trust is given to comply with the Final Decree of Divorce and
                obligation imposed therein in Cause No. 13-2647, rendered by the 428!h Judicial
                District Court of Hays County, Texas, styled “In the Matter of the Marriage of
                K.R.J. and AJ. and in the Interest of R.A.J., C.A.J. and G.G.J., minor children.”


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                                                  Alexander Emerick Jones

         STATE OF TEXAS

         COUNTY OF
                                                                              \°1^                    ^^   by the
               This instrument was acknowledged before me on
         Back of the Moon, undersigned Alexander Emerick Jones, Grantor




                                                  Notary Public, State of Texas




        After Recording, Return To:

        James S. Gilbreath
        1301 S. Capital of Texas Highway-
        Suite C-120
        Austin, Texas   78746




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                            CERTIFICATE OF SERVICE
            On or about January 24, 2020, immediately after filing my
      Involuntary Petition against Alexander Emric Jones, I filed Suggestions of
      Bankruptcy in Travis County District Court case D-1-FM-005030 and the
      only then pending related Habeas Corpus action D-1-FM-19-008556.
            Today, Friday, February 7, 2020, I hereby certify that I served a
      true-and-correct copy of my above-and-foregoing Notice of
      Bankruptcy Removal Pui'suant to 28 U.S.C. §§1334 81 1452 on
      Petitioner’s counsel of record, Randall & Alison Wilhite and David
      Minton, as well as Heidi Lee Heinrich and the Court personnel of the
      261st Judicial District Court. Personal hand and/or e-mail service were
      rendered pursuant to the Texas Rules of Civil Procedure utilizing the e-
      mail addresses listed below.
            Tiffaney Gould
            Tiffanev.Gould@traviscountvtx.gov
            Randall B. Wilhite
            service@fullenweider.com
            David F. Minton
            eservice@mbfc.com
            Heidi Lee Henrich
            heidi@heinrichchristian.com

            The Honorable Judge Lora J. Livingston
            (Judge 261st District Court, Travis County, Texas)
            Brent Douglas McCabe (261st Court Staff Attorney)
            Mary Jane Lawson (261st Court Operations Officer)




                                         Removing Respondent, pro se
                                         From Travis County 261st District Court
                                         Texas Civil Cause No. D-1-FM-005030
                                         11601 Hwy 290 W.
                                         Suite A101-307
                                         Austin, Texas 78737
                                         Designated Legal Ph#888-995-3559
      Notice of Bankruptcy Removal Pursuant to 28 U.S.C. §§1334 & 1452        10
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 60 of
                                        97




                                    EXHIBIT B-2

                             Excerpt From Final Rendition
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 61 of
                                        97

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        Norm-: THIS ('ASK IS UNDER SEAL AND THIS
        DOCUMENT CONTAINS SENSITIVE DATA

                                             CAUSE NO, 13-2647

      IN THE MATTER OF                                §                        IN THE DISTRICT COURT
      THE MARRIAGE OF                                 §
                                                      §
      K.R.J,                                          §
      AND                                             §                       428™ JUDICIAL DISTRICT
      AJ.                                             §
                                                      §
      AND IN THE INTEREST OF                          §
      R.A.J., C.AJ, and G.G.J.,                       §
      CHILDREN                                        §                          HAYS COUNTY, TEXAS

                                           FINAL RENDITION
                          (Formal Judgment to be Prepared Consistent Herewith)

             On December 15th, 16th, 17th, 18th and 19th, 2014, the Court heard the property
     Issues In the trial. On February 16th, 2015, the Court received an agreement of the parties with
     respect to all parent-child Issues and rendered a divorce, taking the division of property under
     advisement, On February 18th, 2015, the Court considered and ordered the division of
     property according the parties' agreed Personal Property Protocol, On February 19th, 2015, the
     Court considered argument of counsel with respect to the final property division toi be
     rendered by the Court, This final trial was conducted pursuant to and under the authority
     conferred by the Agreed Order Referring Case to A Special judge, which was signed by the
     Referring Court on April 16th, 2014,

              The parties were subject to prior rulings by the Special Judge and agreements and
      stipulations of the parties, Including a Scheduling Order and Discover Control Plan approved by
      the Special Judge, On December 15th, 2014, prior to commencement of the trial on the merits,
      the Special Judge heard and ruled on additional pre-trial matters and motions, These included a
      Motion for Continuance brought by Petitioner, which was denied, Stipulations, both pre-trial
      and during the course of the trial, were presented on the record and approved by the Special
      Judge, By prior order of the court and without objection by the parties, the court heard all
      property Issues and matters separately commencing on December 16th, 2014 and continuing on
?   , December 17th, 18th and 19th, 2014, Both parties rested on the property related Issues only, The
     trial was recessed and, by agreement of the parties, resumed at a new location agreed to by the
     'parties in Austin, Texas on all matters relating to the Suit Affecting Parent-Child Relationship,
      Presentation on all matters relating to the Suit Affecting Parent-Child Relationship was thereby
      withheld until the trial resumed on February 16th, 2015, at which time the Court heard those
      matters,




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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 62 of
                                        97

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            Petitioner, K.R.J, appeared for the property portion of the trial in person and by counsel
     Rlcbel Rivers, Catherine Malay and Warren Wills. K.RJ, appeared for the February 2015
     portion of the trial, including the parent-child part of the trial, in person and by counsel, James
     S. Gilbreath, Brian Walters and Joseph Webber.


           Respondent, A,J„ appeared In person and by counsel, Randall Wilhite, David Minton,
    and Alison Wilhite,


           A record was made of the December 2014 portion of the trial by Caroline Chapman and
    of the February 2015 portion of the trial by David Bateman (both through Ken Owen and
    Assoc., L,P„ Austin, Texas).

            Having considered the pleadings and applicable statutory provisions and considered the
    testimony and other evidence admitted, the Courts makes the following Findings and Rulings
    and finds the same to be fair and just:




           5.      The real estate Is valued as follows:

                   a.      Perdernales Hills Ranch - $68,640 (as agreed);




                                                     2




                                                                   03/03/2015        10:31 AH (GMT--06:00)
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 63 of
                                        97

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                               Back or the Ivioon residence — $780,000 per Beal report,




       *




's            15,


                                                      3




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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 64 of
                                        97

 03/02/2015     22:14     2813508876                                                                 PAGE   10/22




              27,   In the event of conflict between the provisions of this rendition and any
                    stipulation or agreement of the parties, the stipulation or agreement controls.

          28,       Any relief requested In connection with this litigation and not specifically granted
                    herein Is DENIED,


          Signed and rendered on                     JI/kJL'      2015,




                                                  Doug Warm*, Special Judge Presiding




                                                    6




                                                                    03/03/2015        10:31 AH (GMT-06:00)
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 65 of
                                        97




                                   EXHIBIT B-3

                              Suggestion of Bankruptcy
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 66 of
                                        97




      Rule 210(d)(2) Notice:
      THIS DOCUMENT
      CONTAINS SENSITIVE DATA

                                  Cause No.: D-1-FM-15-005030

      In the Matter of the Marriage of           §       In the District Court

      K.R. J. and A.E.J.                         §

      And in the interests of                    §       261st District Court

      R.A.J., C.A.J., and G.GJ.                  §

             Minor Children.                     §       Travis County, Texas

          SUGGESTION OF BANKRUPTCY of ALEXANDER E, JONES
      TO THE HONORABLE DISTRICT COURT:
             I, Kelly R, Jones, petitioner, pro se, on this Friday, 24 January 2020,
      filed an Involuntary Petition for Bankruptcy Relief under 11 U.S.C. §303
      against Alexander E. Jones, and the automatic stay under 11 U.S.C. 1362(a)
      is now in full force and effect (Chapter 11 Petition attached as Exhibit A).
             The automatic stay is triggered by the act of filing an involuntary
      petition pursuant to 11 U.S.C. § 303, not by the entry of an order for relief by
      the court 2 LAWRENCE P. KING, ET AL„ COLLIER ON BANKRUPTCY 1!
      362.04, at 362-35 (15th ed. 1996). The automatic stay is broad in scope and
      applies      to    almost       every      formal      and      informal action by      or
      against the debtor or property of the debtor, except as set forth under (b)
      of Section     362.    2 LAWRENCE           P.   KING,       ET AL„         COLLIER ON
      BANKRUPTCY H 362.04, at 362-34 (15th ed. 1996).                             See also In re
      Kelly R. Jones' Suggestion of Bankruptcy filed against Alexander E, Jones               1
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 67 of
                                        97




      MortgageAmerica Corp., 714 F.2d 1266 at 1273,1277 (5th Cir. Sept, 19,
      1983). Title 11 U.S.C. §54i(a) specifically states:

                    The commencement of a case under section 301,302,
                    or 303 of this title creates an estate.
             The United States Bankruptcy Court for the Western District of Texas
      has assigned case number               ^0^ |Q| | %                   to this proceeding.

             Any action taken by this court in any case relating to Alexander E.
      Jones will be null and void, and all hearings should be accordingly stayed.
                                                  Respectfully submitted,
      Friday
      24 January 2020



                                                  Relator, pro se      1/
                                                  11601 Hwy 290 W., Suite A101-307
                                                  Austin, Texas 78737
                                                  Designated Legal Ph# 888-995-3559




      Kelly R. Jones’ Suggestion of Bankruptcy filed against Alexander is. Jones                 2
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 68 of
                                        97




                                         Certificate of Service

            I have served this Suggestion of Bankruptcy, either by e-mail or hand
      delivery, on all attorneys in Case D-i-FM-15-005030, and judicial personnel
      (Judge Livingston’s staff) on the 261st Judicial District Court:

             Tiffaney Gould
             ManeyiGouM@travis.cQ.mitytx.gov
             Randall B. Wilhite
             Sgryice|®fullOTweMer^i|i
             David F. Minton
             eseryice@mbfc,com
             Heidi Lee Henrich
             heidi^iieinrichchristiaiLcam
             Brent Douglas McCabe (261st Court Staff Attorney)
             Brent.McCabe@traviscountvtx.gov
             And
             Mary Jane Lawson (261st Court Operations)




                                                 Respondent, pro se
                                                 11601 Hwy 290 W., Suite A101-307
                                                 Austin, Texas 78737
                                                 Designated Legal Ph# 888-995-3559




      Kelly R. Jones’ Suggestion ofBankruptcy filed against Alexander E. Jones       3
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 69 of
                                        97




                                     Exhibit A:
                   Kelly R. Jones’
        Involuntary Petition (Chapter 11) for
                Bankruptcy Relief &
                 Protection against
             Alexander E. Jones’ under
                   11 U.S.C. §303
              Filed January 24, 2020




      Kelly R. Jones’ Suggestion of Bankruptcyfiled against Alexander E. Jones
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 70 of
                                        97


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                                                                MBS

      UNITED STATES
    BANKRUPTCY COURT
      WESTERN PISTRICT OF TEXAS
           AUSTIN DIVISION

     II     10244'?            AW

     January 24-.              2020
               14x 03 r 43

          CM    11   PETITION
          20-1011B-HCM11
 Debtor,: ALEXANDER EHRIC TONES
 Judge..: H, CHRISTOPHER WIT
 Amount.:                   $1,717.00 CH
 CheckI.: 1718




 To t o I ->         * 1 , T1T . OO



 FROM: KELLY TONES
          11801 « iff 290
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 71 of
                                        97


         FI                     ■ation to idi

         United States Bankruptcy Court for the:
         Western District of Texas               [f|j                                                                       filed
         Case number ynmom.                                                 f hn'cr 11                                  ?0?f!J4N24 PH 2:06


                                                                                                                        ?ffi^fokC0URr        Q Check if this is an
                                                                                                                                                amended filing

    Official Form 105
    Involuntary Petition Against an Individual                                                                                                          12/15

    Use this form to begin a bankruptcy case against an individual you allege to b# a debtor subject to an Involuntary case, if you want to begin a
    case against a non-individual, use the Involuntary Petition Against a Non-IndMdml (Official Form 205). Be as complete and accurate as
    possible, (f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write name and case number {if
    known).


    Parti
                  1    Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


51. Chapter of the                              Check one;
    Bankruptcy Code
                                                O Chapter 7
                                                                                                                                                                  i|
                                                2f    Chapter 11


    Part 2:            Identify the Debtor


    2.        Debtor’s full name                Alexander
                                                First name

                                                Emric
                                                MckJle name

                                                Jones
                                                Iasi name


                                                Suffix {$r„ Jr., M, tilf

                                                                                             ...           Dd
i 3. Other names you know                       Alexander Enterick Jones { fo:' "* J
i the debtor has used in                        Alex Jones        _______ .CaiL -V ,*)/v
;         the last 8 years
              include ary arsumeo,
                                                Alexander E. Jones                          C A-       OlD.                                                      §

              married, i; .aiders, nr trade
              names, tv doing Business os
              names.

    4. Only the last 4 digits of                gf unknown
       debtor’s Social Security
       Number or federal                                _                        9      8          9
       Individual Taxpayer
                                                                                                                OR       9 xx   - xx   -
       Identification Number
       (ITIN)

: s. Any Employer
          Identification Numbers                □ Unknown
          (EINs) used in the last 8
          years                                 ESN


                                                BN


    Official Form 105                                                      Involuntary Petition Against an Individual                         page 1
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 72 of
                                        97


    Debtor                                                                                                                      COAe fHC'GXY''



                                     Principal residence                                                                           Mailing address, it different from residence
    s. Debtor's address


                                     1400 Barton Creek Boulevard                                                                   3019 Alvin DeVane Boulevard, Suite 380
                                     Number              Street                                                                    Number   Sheet

                                                                                                                                    FREE SPEECH SYSTEMS, LLC

                                     Austin                                                   TX             78735                  Austin                                      TX        78741
                                     City                                                     State          ZiP Cede              City                                         Slat#     ZIP'Cade

                                     Travis County
                                     County


                                     Principal place of business


                                     3019 Alvin DeVane Boulevard, #350
                                     Number             Street


                                     FREE SPEECH SYSTEMS.. LLC

                                     Austin                                                   TX             78741
                                     City                                                     State         ZIP Code


                                     78741
                                     County



    ?, Type of business              Q D«^or does not operate a business

                                     Check one if the debtor operates a business:
                                     Q      Health Care Business {as defined in 11 U.S.C. § 101 (27A))
                                     Q Single Asset Real Estate (as defined in 11                                 U.S.C. § 101(81B)}
                                     □      Stockbroker {as defined in 11 U.S.C, § 101(53A}}
                                     □      Commodify Broker (as defined in 11 U.S.C. § 101(6))
                                     £2     None of the above

I
! 8. Type of debt                    Each petitioner believes:

                                     □      Debts are primarily consumer debts. Consume: arm are defined in 11 U.S.C. § 101(8) as
                                            "incurred by an individual primarily for a personae faTii,-, or nou$»lv>:4 purpose "

                                     £3     Debts are primarily business debts, Business iJnt-m ora debts that oere incurred to obtain money
                                            for a business or investment or through tin- operation of mo uus.r.ess or mvestrrent.


    9.   Do you know of any          0 No
         bankruptcy cases
         pending by or against       Q      Yes. Debtor .................................................................................... ..         Relationship
         any partner, spouse, or
         affiliate of this debtor?
                                                    District                                                 Data filed          __ _____Case number, tf known
                                                                                                                            MM/DD/WYY


                                                  Debtor__ ____ __________________________                                                              K>- <i or   c

                                                  DsStne;_____ _                                  _____Date filed _                               ____ C ,v* * ~    t* g u/,'
                                                                                                                            r/7 CD « rvv

    Ofrldal Form 105                                              Irtvolumary Petition Against an Individual                                                                            page 2
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 73 of
                                        97


 Debtor      Alexander Ermic Jones                                                              UBSd UiT;r



             Report About the Case

 10. Venue                            Check one:
    Reason tor King in this court.    Vi Over the las! 180 days before the filing of this bankruptcy, the debtor has resided, had the principal place of
                                         business, or had principal assets in this district longer than In any other district.
                                     □ A bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this district,

                                      □ Other reason. Explain, (See 28 U.S.C, § 1408.}__ ______________ ___ ___________ ______________



 11. Allegations                     Each pmitoner is eligible to file this petition under 11 U.S.C. % 3si3(b).
                                      f tic debtor tray be the subject of an involuntary case under it U.S.C. § 303(a).

                                     A( host one box must fee checked:

                                     Si The debtor is generally not paying such debtor's debts as they become due, unless they are the subject of a
                                         bona fide dispute as to liability or amount.
                                     □ Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or agent appointed or I
                                       authorized to fake charge of less than substantially all of the property of the debtor for the purpose of enforcing a i
                                       lien against such property, was appointed or took possession,                                                          s
                                                                                                                                                                      i
 12, Has there been a                m No
    transfer of any claim
    against the debtor by or             Tes, Attach ail documents that evidence the transfer and any statements required under Bankruptcy Rule
    to any petitioner?                        1003(a).



 13. Each petitioner's claim                                                                                                                 Amount of the
                                         Name of petitioner                                   Mature of petitioner's claim                   claim above the
                                                                                                                                             value of any lien

                                     Kelly R. Jones                                         Default on Promissory Note
                                                                                                                                             $    786,861.00 j



                                                                                                                                             S



                                                                                                                                             !______




                                                                                                                              Total          $    786,861,00
                                                                                                                                         .        , _            __

                                         If more than 3 petitioners, attach additional sheets with the statement under penalty
                                         of perjury, each petitioner’s (or representative's) signature under the statement,
                                         along with the signature of the petitioner's attorney, and the Information on the
                                         petitioning creditor, the petitioner's claim, the petitioner’s representative, and the
                                         attorney following the format on this form.




Official Form 105                                        involuntary Petition Against an individual                                          page 3
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 74 of
                                        97


 Debtor         Alexander Ernric Jones                                                                     Cass number

 Part 4
           I   Request for Relief

    Petitioners request that an order for relief be entered against the debtor under the chapter specified in Part 1 of this petition, if a petitioning
    creditor is a corporation, attacts the corporate ownership statement required by Bankruptcy Rule 1010(b). if any petitioner is a foreign
    representative appointed in a foreign proceeding, a certified copy of the order of the court granting recognition is attached.

    Petitioners declare under penalty of perjury that the information provided in this petition is true and correct Petitioners understand that if they make a
    false statement, they could be fined up to $250,000 or Imprisoned for up So 5 years, or both.
    18 U.S.C. §§ 152 and 3871, if relief is no! ordered, the court may award attorneys' fees, costs, damages, arid our.itivu damages. 11 U.S.C. § 303(f).

    Petitioners or Petitioner*’ Representative                                             Attorneys

 * VdSiPs                                                   _____ _                    X
    Signature of pewanbf or                including representative's Win                  •Signature M attorney

     Kelly R. Jones______________
    Printed name of petitioner                                                             Primed name

    Date signed          ^!B2L _
                         MM 7 DO ! VYYY                                                    Rrm name, if any


                                                                                           Number     Street
    bailing address of petitioner
     11001 Hwy 290 W., Suite A101-307                                                      City                                    State            ZIP Code
    Mumber      Street
                                                                                           Date signed         _____   ..... ...
     Austin                                TX          78737                                                   mm   Too   mvv
    City""                       ~~~" ““    State      .......           2IPCode
                                                                                           Contact phone                           Email
    If petitioner Is an Individual and Is not represented by an
    attorney:
    Contact phone           888-995-3559_______
    Email
                            service@vioietkelly.com


    Nam* and mailing address of petitioner’s representative, if any
                                                                                                                                                                  I
    Name                                                                                                                                                         I

    Number      Sires!


    City                                   State                         ZiP Code




Official Form 105                                                Involuntary Potiflon Against an Individual                                    page 4
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 75 of
                                        97




                                Exhibit A:
                 Alexander Emeriek Jones’
                        (“Maker’s)
                 72 Month Promissory Note
                      March 19, 2015
       If Maker defaults in the payment of this note or in the performance of any
       obligation in any instrument securing or collateral to this note, Payee may
           declare the unpaid principal balance, earned interest, and any other
          accounts owed on the note immediately due. Maker and each surety,
          endorser, and guarantor waive, to the extent permitted by law, all (a)
      demand for payment, (b) presentation of payment, (c) notice of intention to
        accelerate maturity, (d) notice of acceleration of maturity, (e) protest, (f)
        notice of protest, and (g) rights under sections 51.003 and 51.004 of the
                                   Texas Property Code.
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 76 of
                                        97




                              Real Estate Lieu Note
                      3-/n~r 2'-tr ^10-T
        Date:

        Maker: Alexander Emerick Jones

        Maker’s Mailing Address: 101 Colorado Street, #3605, Austin, Travis County, Texas 78703

        Payee: Kelly R. Jones, as her sole and separate property and estate

        Place for Payment: 12250 Trautwein Road, Austin, Hays County, Texas

        Principal Amount: Two Million Seven Hundred and Twenty-Seven Thousand nine hundred and
        Fifty-One and No/100 Dollars ($2,727,951)

        Annual Interest Rate: Five percent (5%)

        Annual Interest Rate on Matured, Unpaid Amounts: Five percent (5%),

        Terms of Payment (principal and interest):

                Principal and interest on this Real Estate Lien Note (“Note”) are due and payable in
        monthly installments of Forty-Three Thousand Nine Hundred Thirty-Three and No/100 Dollars
        ($43,933.00) each, beginning forty-five days after the signing of the Final Decree of Divorce
        between Payee and Maker in Cause No 13-2647, In the Matter of the Marriage of K.RJ. and
        A.J., by the Presiding Judge qf the 428th Judicial District Court of Hays County, Texas, and
        continuing on the same day of each following calendar month until all payments of principal and
        interest called for herein have been paid in full. Payments shall be sent to 12250 Trautwein
        Road, Austin, Texas 78737.

        Security for Payment:

                This Note is secured by two deeds of Trust dated of even date herewith by Maker for the
        benefit of Payee, The Deeds of Trust grant Payee a lien on the following real property;

                15101 Rack of the Moon St. D., Austin, TX 78734, legally described as Lot 3,
                Amended Plat Of Back Of The Moon Subdivision, A Subdivision in Travis
                Count}', Texas, According to the Map Or PJat Thereof Recorded In Volume 93,
                Page 282, Of The Plat Records Of Travis County, Texas, and

                Pedernales Hills Ranch, Lot 18, 5,01 Acres, legally described as BEING Tract
                18, Pedernales Hills Ranches, a subdivision situated in Blanco County, Texas,
                according to Plat in Volume 1, Page 123-126, Plat Records of Blanco County,
                Texas; together with ingress and egress easement more particularly described in
                Volume 112, Page 782, Deed Records of Blanco County, Texas,



                Maker promises to pay to the order of Payee the principal amount plus interest at the

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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 77 of
                                        97




        annual interest rate, This note is payable at the place for payment and according to the terms of
        payment. All unpaid amounts are due by the maturity date, if any amount Is not paid either when
        clue under the terms of payment or on acceleration of maturity, Maker promises to pay any
        unpaid amount plus interest from the date the payment was due to the date of payment at the
        annua! interest rate on matured, unpaid amounts.

                Maker may prepay tills note in any amount at any time before the maturity date without
        penalty or premium. Prepayments will be applied to installments on the fast maturing principal,
        and interest on that prepaid principal will immediately cease to accrue.

                If Maker defaults in the payment of this note or in the performance of any obligation in
        any instrument securing or collateral to this note, Payee may declare the unpaid principal
        balance, earned interest, and any other amounts owed on the note immediately due. Maker and
        each surety, endorser, and guarantor waive, to the extent permitted by law, all (a) demand for
        payment, (b) presentation for payment, (e) notice of intention to accelerate maturity, (cl) notice of
        acceleration of maturity, (e) protest, (f) notice of protest, and (g) rights under sections 51.003 and
        51,004 of the Texas Property Code.

                Maker also promises to pay reasonable attorney’s fees and court and other costs if this
        note is placed in the hands of an attorney to collect or enforce the note. These expenses will bear
        interest from the date of advance at the annual interest rate on matured, unpaid amounts. Maker
        will pay Payee these expenses and Interest on demand at the place for payment. These expenses
        and interest will become part of the debt evidenced by the note and will he secured by any
        security for payment.

                Interest on the debt evidenced by this note will not exceed the maximum rate or amount
        of nonusurious interest that may be contracted for, taken, reserved, charged, or received under
        law. Any interest in excess of that maximum amount will be credited on the principal amount or,
        if the principal amount has been paid, refunded, On airy acceleration or required or permitted
        prepayment, any excess interest will be canceled automatically as of the acceleration or
        prepayment or, if the excess interest has already been paid, credited on the principal amount or,
        if the principal amount has been paid, refunded. 'Fills provision overrides any conflicting
        provisions In this note and all other instruments concerning the debt.

                  Each Maker Ss responsible for all obligations represented by this note,

                  When the context requires, singular nouns and pronouns Include the plural.

               This note is given to evidence the indebtedness Imposed on Maker by the Final Decree of
        .Divorce entered In Cause No, 13-2647 by the District Court of Hays County, Texas, styled “In
        fire Matter of the Marriage of K.R.J. and A.J,                                        : G.G.J.,
        minor children,”


                                                       A!
                                                        10
                                                       Austin, Texas 78703



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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 78 of
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                                                                                2815043396

                                            •O ' 2J? ^ee(* °* 1 ri,s^
                                              <s£nf
       Date:

       Grantor: Alexander Emerick Jones

       Grantor’s Mailing Address; 101 Colorado Street, #3605, Austin, Travis County, Texas 78703

       Trustee: James S. Gilbreath

       Trustee’s Mai ling Address: 1301 S. Capital of Texas Highway, Spite C-120, Austin, Travis
       County, Texas 78746

       Beneficiary: Kelly R, Jones

       Beneficiary’s Mailing Address: 12250 Trautwein Road, Austin, Hays County, Texas 78737

       Mote

                 Date:

                 Original Principal Amount: $2,727,951,00

                 Maker: Alexander Emerick Jones

                 Payee: Kelly R, Jones

              Maturity Date: Payable in 72 equal monthly installments of $43,933.00 each beginning 45
       days after the signing of the Final Decree of Divorce in Cause No, 13-2647 by the Presiding
       Judge of the 428th Judicial District Court of Hays County, Texas,

       Property (including any improvements):

                15101 Back of the Moon St, D., Austin, TX 78734, legally described as Lot 3,
                Amended Plat Of Back Of The Moon Subdivision, A Subdivision in Travis
                County, Texas, According to the Map Or Plat Thereof Recorded In Volume 93,
                Page 282, Of The Plat Records Of Travis County, Texas

       Prior Lien(s): None,

       Other Exceptions to Conveyance and Warranty: None,

               For value received and to secure payment of the note, Grantor conveys the property to
       Trustee in trust, Grantor warrants and agrees to defend the title to the property, subject to the
       other exceptions to conveyance and warranty. On payment of the note and all other amounts
       secured by this deed of trust, this deed of trust will have no further effect, and Beneficiary will
       release it at Grantor’s expense.




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                                Exhibit B:
             Alexander Emeriek Jones’
               Grant of Deed of Trust
          In 15101 Back of the Moon St. D.
          Austin, Tx 78734 (Travis County)
                   March 19, 2015
      I15. Grantor and each surety, endorser, and guarantor of the note waive, to
       the extent permitted by law, all (a) demand for payment, (b) presentation
        for payment, (c) notice of intention to accelerate maturity, (d) notice of
         acceleration of maturity, (e) protest, (f) notice of protest, and (g) rights
             under sections 51.003 and 51.004 of the Texas Property Code.
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 80 of
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                                                       Clauses and Covenants

        A.       Grantor’s Obligations

                 Grantor agrees to—

                 1,       keep the property in good repair and condition;

                2,      pay all taxes and assessments on the property before delinquency, not authorize a
        taxing entity to transfer its tax Hen on the property to anyone other than Beneficiary, and not
        request a deferral of the collection of taxes pursuant to section 33,06 of the Texas Tax Code;

               3,     defend title to the property subject to the other exceptions to conveyance and
        warranty and preserve Che lien’s priority as it is established In this deed of trust;

                 4,     maintain all insurance coverages with respect to the property, revenues generated
        by tire property, and operations on the property that Beneficiary reasonably requires ("Required
        Insurance Coverages"), issued by insurers and written on policy forms acceptable to Beneficiary,
        and deliver evidence of the Required Insurance Coverages in a form acceptable to Beneficiary at
        least ten days before the expiration of the Required Insurance Coverages;

                 5,       obey all laws, ordinances, and restrictive covenants applicable to the property;

                6,        keep any buildings occupied as required by the Required Insurance Coverages;

                7,     if the lien of this deed of trust is not a first Hen, pay or cause to be paid all prior
        lien notes and abide by or cause to be abided by all prior Hen instruments; and

                8,        notify Beneficiary of any change of address,

        il      Beneficiary’s Rights

               1.       Beneficiary may appoint in writing a substitute trustee, succeeding to all rights and
        responsibilities of Trustee.

               2.      If the proceeds of the note are used to pay any debt secured by prior liens,
        Beneficiary is subrogated to all the rights and liens of the holders of any debt so paid.

               3.      Beneficiary may apply any proceeds received under the property insurance policies
        covering the property either to reduce the note or to repair or replace damaged or destroyed
        improvements covered by the policy. If the property is Grantor’s primary residence and
        Beneficiary reasonably determines that repairs to the improvements are economically feasible,
        Beneficiary will make the insurance proceeds available to Grantor for repairs,

               4.      Notwithstanding the terms of the note to the contrary, and unless applicable law
       prohibits, all payments received by Beneficiary from Grantor with respect to the note or this deed
       of trust may, at Beneficiary’s discretion, be applied first to amounts payable under this deed of
       trust and then to amounts due and payable to Beneficiary with respect to the note, to be applied to
       late charges, principal, or interest in the order Beneficiary in its discretion determines.


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               5,      If Grantor fails to perform any of Grantor’s obligations, Beneficiary may perform
        those obligations and be reimbursed by Grantor on demand for any amounts so paid, including
        attorney’s fees, plus interest on those amounts from the dates of payment at the rate stated in the
        note for matured, unpaid amounts. The amount to be reimbursed will be secured by this deed of
        trust.

               6,      If a default exists in payment of the note or performance of Grantor's obligations
        and the default continues after any required notice of the default and the time allowed to cure,
        Beneficiary may—

                           a.       declare the unpaid principal balance and earned interest cm the note
                                    immediately due;

                           b.       exercise Beneficiary's rights with respect to rent under the Texas Property
                                    Code, .as then in effect;

                           c.       direct Trustee to foreclose this lien, in which ease Beneficiary or
                                    Beneficiary’s agent will cause notice of the foreclosure sale to be given as
                                    provided by the Texas Property Code as then in effect; and

                          d.        purchase the property at any foreclosure sale by offering the highest bid
                                    and then have the bid credited on the note.

              7.     Beneficiary may remedy any default without waiving it and may waive any default
       without waiving any prior or subsequent default,

       C,        Trustee’s Rights and Dufies

                 If directed by Beneficiary to foreclose this lien, Trustee will—

              1.     either personally or by agent give notice of the foreclosure sale as required by the
       Texas Property Code as then in effect;

              2.     sell and convey all or part of the property “AS IS” to the highest bidder for cash
       with a general warranty binding Grantor, subject to prior liens and to the other exceptions to
       conveyance and warranty and without representation or warranty, express or implied, by Trustee;

                3.        from the proceeds of the sale, pay, in this order—

                          a.       expenses of foreclosure, including n reasonable commission to Trustee;

                          b.       to Beneficiary, the full amount of principal, interest, attorney’s fees, and
                                   other charges due and unpaid;

                          c.       any amounts required by law to be paid before payment to Grantor; and

                          d.       to Grantor, any balance; and

              4.      be indemnified, held harmless, and defended by Beneficiary against all costs,
       expenses, and liabilities incurred by Trustee for acting in the execution or enforcement of the trust

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        created by this deed of trust, which includes ail court and other costs, including attorney's fees,
        incurred by Trustee in defense of any action or proceeding taken against Trustee in that capacity.

        I),       General Provisions

                1.      If any of the property is sold under this deed of trust, Grantor must immediately
        surrender possession to the purchaser. If Grantor fails to do so, Grantor will become a tenant at
        sufferance of the purchaser, subject to an action for forcible detainer,

                  2.        Recitals in any trustee's deed conveying the property will be presumed to be true.

                3.    Proceeding tinder this deed of trust, filing suit for foreclosure, or pursuing any
        other remedy will not constitute an election of remedies.

                4.       This Hen will remain superior to liens later created even if the time of payment of
        all or part of the note is extended or part of the property is released,

              5.      If any portion of the note cannot be lawfully secured by this deed of trust,
        payments will be applied first to discharge that portion,

                6.     Grantor assigns to Beneficiary ail amounts payable to or received by Grantor from
        condemnation of all or part of the property, from private sale in lieu of condemnation, and from
        damages caused by public works or construction on or near the property. After deducting any
        expenses incurred, including attorney’s fees and court and other costs, Beneficiary will either
        release any remaining amounts to Grantor or apply such amounts to reduce the note. Beneficiary
        will not be liable for failure to collect or to exercise diligence in collecting any such amounts,
        Grantor will immediately give Beneficiary notice of any actual or threatened proceedings for
        condemnation of all or part of the property,

                7.      Grantor collaterally assigns to Beneficiary all present and future rent from the
        property and its proceeds. Grantor warrants the validity and enforceability of the assignment.
        Grantor will apply all rent to payment of the note and performance of this deed of trust, but if the
        rent exceeds the amount due with respect to the note and the deed of trust, Grantor may retain the
        excess. If a default exists in payment of the note or performance of this deed of trust, Beneficiary
        may exercise Beneficiary’s rights with respect to rent under the Texas Property Code, as then in
        effect. Beneficiary neither has nor assumes any obligations as lessor or landlord with respect to
        any occupant of the property. Beneficiary may exercise Beneficiary’s rights and remedies under
        this paragraph without taking possession of the property. Beneficiary will apply all rent collected
        under this paragraph as required by the Texas Property Code, as then in effect, Beneficiary is not
        required to act under this paragraph, and acting under this paragraph does not waive any of
        Beneficiary’s other rights or remedies.

               8.       Interest on the debt secured by this deed of trust will not exceed the maximum
       amount of nomisunous interest that may be contracted for, taken, reserved, charged, or received
       under tew. Any interest in excess of that maximum amount will be credited on the principal of the
       debt or, if that has been paid, refunded. On any acceleration or required or permitted prepayment,
       any such excess will be canceled automatically as of the acceleration or prepayment or, if already
       paid, credited on the principal of the debt or, if the principal of the debt has been paid, refunded,


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        This provision overrides any conflicting provisions in this and all other instruments concerning
        the debt.

               9,      In no event may this deed of trust secure payment of any debt that may not
        lawfully be secured by a lien op real estate or create a lien otherwise prohibited by law.

                 10,    If Grantor transfers any part of the property without Beneficiary’s prior written
        consent, Beneficiary may declare the note immediately payable and invoke arty remedies
        provided in this deed of trust for default. If the property is residential real property containing
        fewer than five dwelling units or a residential manufactured home, this provision does not apply
        to (a) a subordinate lien or encumbrance that does not transfer rights of occupancy of the
        property; (b) creation of a purchase-money security interest for household appliances; (c) grant of
        a leasehold interest of three years or less without an option to purchase; (d) transfer to a spouse or
        children of Grantor; (c) transfer to a relative of Grantor on Grantor’s death; (f) a transfer resulting
        from a decree of a dissolution of marriage, a legal separation agreement, or an incidental property
        settlement agreement by which the spouse of Grantor becomes an owner of the property; or (g)
        transfer to an inter vivos trust in which Grantor is and remains a beneficiary and occupant of the
        property.

                   11,       When the context requires, singular nouns and pronouns include the plural,

               12,     The term note includes all extensions, modifications, and renewals of the note and
        all amounts secured by this deed of trust,

                 13,         This deed of trust binds, benefits, and may be enforced by successors in interest of
        all parties.

                  14,        If Grantor and Maker are not the same person, the term Grantor includes Maker.

                15,    Grantor and eaeft surety, endorser, and guarantor of the note waive, to the extent
        permitted by law, all (a) demand for payment, (b) presentation for payment, (c) notice of intention
        to accelerate maturity, (d) notice of acceleration of maturity, (e) protest, (f) notice of protest, and
        (g) rights under sections 51.003 and 51,004 of the Texas Property Code,

                16,    Grantor agrees to pay reasonable attorney’s fees, trustee’s fees, and court and other
        costs of enforcing Beneficiary’s rights under this deed of trust if this deed of trust is placed in the
        hands of an attorney for enforcement,

                17,     If any provision of this deed of trust is determined to be invalid or unenforceable,
        the validity or enforceability of any other provision will not be affected,

               i 8,          Grantor represents that this deed of trust and the note are given for the following
        purposes:

                       This deed of trust is given to comply with the Final Decree of Divorce and
               obligation imposed therein in Cause No, 13-2647, rendered by the 428* Judicial
               District Court of Hays County, Texas, styled "In the Matter of the Marriage of
               K,R,J, and A J, and in the Interest of R,A J., C.AJ, and G.GJ., minor children.”


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        STATE OF TEXAS

        COUNTY OF                                         )

              This instrument was acknowledged before me on                                              „Ylhe
        Back of the Moon, undersigned Alexander Emertek Jones, Grantor


                                                              A                           r

                                                          Notary Public, State ofTexas
                       WC$ST*T“



        AFTER RECORDING, RETURN TO:

        lames S, Gilbreath
        1301 S, Capital of Texas Highway
        Suite C-120
       Austin, Texas                78746




                                                          FILED AND RECORDED
                                                                    OFFICIAL PUBLIC RECORDS




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                                                                     Travis County     TEXAS




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                                Exhibit C:
                  Alexander Emeriek Jones’
                  Grant of Deed of Trust in
                   Pedernales Hills Ranch
                       Blanco County
                       March 19, 2015
      II15. Grantor and each surety, endorser, and guarantor of the note waive, to
       the extent permitted by law, all (a) demand for payment, (b) presentation
         for payment, (c) notice of intention to accelerate maturity, (d) notice of
         acceleration of maturity, (e) protest, (f) notice of protest, and (g) rights
              under sections 51.003 and 51.004 of the Texas Property Code.
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                                                  Deed of Trust,        /- A 'i
                                                                        cu
         Date:

         Grantor: Alexander Emeriek Jones

         Grantor’s Mailing Address: 101 Colorado Street, #3605, Austin, Travis County, Texas 78703

         Trustee: James S, Gilbreath

         Trustee’s Mailing Address: 1301 S. Capital of Texas Highway, Suite €-120, Austin, Travis
         County, Texas 78746

         Beneficiary: Kelly R. Jones

         Beneficiary’s Mailing Address: 12250 Trautwem Road, Austin, Hays County, Texas 78737

         Note                                                                             Jk , day ofj[)iJL 2oiaL
                                                                              WtedShte,
                  Date:                                                                          JLM-M
                  Original Principal Amount: $2,727,951,00                                    tfiUta Walla
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                                                                                 Sj^JuifcLpMl^f7Deputy
                  'Maker: Alexander Emeriek Jones

                  Payee: Kelly R, Jones

                 Maturity Date: Payable In 72 equal monthly installments of $43,933,00 each beginning 45
         days after the signing of the Final Decree of Divorce in Cause No, ! 3-2647 by the Presiding
         Judge of the 428* Judicial District Court of Hays County, Texas,

         Property (including any improvements):

                  Pedernales Hills Ranch, Lot 18, 5,01 Acres, legally described as BEING Tract 18,
                  PEDERNALES HILLS RANCHES, a subdivision situated in Blanco County,
                  Texas, according to Plat in Volume I, Page 123-126, Plat Records of Blanco
                  County, Texas; TOGETHER WITH ingress and egress easement more
                  particularly described in Volume 112, Page 782, Deed Records of Blanco County,
                  Texas,

         Prior Lien(s): None,

         Other Exceptions to Conveyance and Warranty: None.

                For value received and to secure payment of the note, Grantor conveys the property to
        Trustee in trust. Grantor warrants and agrees to defend the title to the property, subject to the
        other exceptions to conveyance and warranty. On payment of the note and all other amounts
        secured by ibis deed of trust, this deed of trust will have no further effect, and Beneficiary will;
        release it at Grantor’s expense,                                                                   :

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                                                 Clauses and Covenants

         A.       Gran tor’s Obligations

                  Grantor agrees to—

                  1,       keep the property in good repair and condition;

                 2,      pay all taxes and assessments on the property before delinquency, not authorize a
         taxing entity to transfer its tax lien on the property to anyone other than Beneficiary, and not
         request a deferral of the collection of taxes pursuant to section 33,06 of the Texas Tax Code;

                3,    defend title to the property subject to the other exceptions to conveyance and
         warranty and preserve the lien’s priority as it is established in this deed of trust;

                 4,      maintain all insurance coverages with respect to the property, revenues generated
         by the property, and operations on the property that Beneficiary reasonably requires {“Required
         Insurance Coverages”), issued by insurers and written on policy forms acceptable to Beneficiary,
         and deliver evidence of the Required Insurance Coverages in a form acceptable to Beneficiary at
         least ten days before the expiration of the Required Insurance Coverages;

                  5,       obey all laws, ordinances, and restrictive covenants applicable to the property;

                  6,       keep any buildings occupied as required by the Required Insurance Coverages;

                 7,      if the lien of this deed of trust is not a first lien, pay or cause to be paid all prior
         lien notes and abide by or cause to be abided by ail prior lien instruments; and

                 8,        notify Beneficiary of any change of address,

        B,       Beneficiary’s Rights

               1,       Beneficiary may appoint in writing a substitute trustee, succeeding to all rights and
        responsibilities of Trustee,

               2,       If the proceeds of the note are used to pay any debt secured by prior liens,
        Beneficiary is subrogated to all the rights and Hens of the holders of any debt so paid.

               3,      Beneficiary may apply any proceeds received under the property insurance policies
        covering the property either to reduce the note or to repair or replace damaged or destroyed
        improvements covered by the policy. If the property is Grantor’s primary residence and
        Beneficiary reasonably determines that repairs to the improvements are economically feasible,
        Beneficiary wifi make the insurance proceeds available to Grantor for repairs,

                4,      Notwithstanding the terms of the note to the contrary, and unless applicable law
        prohibits, all payments received by Beneficiary from Grantor with respect to the note or this deed
        of trust may, at Beneficiary’s discretion, be applied first to amounts payable under this deed of
        trust and then to amounts due and payable to Beneficiary with respect to the note, to be applied .to
        late charges, principal, or Interest in the order Beneficiary in its discretion determines.


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                 5,     If Grantor falls to perform any of Grantor’s obligations, Beneficiary may perform
         those obligations and be reimbursed by Grantor on demand for any amounts so paid, including
         attorney’s fees, plus interest on those amounts from the dates of payment at the rate stated in the
         note for matured, unpaid amounts. The amount to be reimbursed will be secured by this deed of
         trust.

                6.     If a default exists in payment of the note or performance of Grantor’s obligations
         and the default continues after any required notice of the default and the time allowed to cure,
         Beneficiary may—

                                   a,           declare the unpaid principal balance and earned interest on the note
                                              ' immediately due;

                                   b,           exercise Beneficiary's rights with respect to rent under the Texas Property
                                                Code, as then in effect;

                                   c,           direct Trustee to foreclose this lien, in which ease Beneficiary or
                                                Beneficiary’s agent will cause notice of the foreclosure sale to be given as
                                                provided by the Texas Property Code as then in effect; and

                                   d,           purchase the property at any foreclosure sale by offering the highest bid
                                                and then have the bid credited on tire note.

                7,    Beneficiary may remedy any default without waiving it and may waive any default
         without waiving any prior or subsequent default.

         C.           Trustee’s Eights and Dufies

                     If directed by Beneficiary to foreclose this lien, Trustee will—

               1.     either personally or by agent give notice of the foreclosure sale as required by the
        Texas Property Code as then in effect;

               2.     sell and convey ail or part of the property “AS IS” to the highest bidder for cash
        with a general warranty binding Grantor, subject to prior liens and to the other exceptions to
        conveyance and warranty and without representation or warranty, express or implied, by Trustee;

                     3.           from the proceeds of the sale, pay, in this order—

                                  a.           expenses of foreclosure, including a reasonable commission to Trustee;

                                  b.           io Beneficiary, the full amount of principal, interest, attorney’s fees, and
                                               other charges due and unpaid;

                                  e,           any amounts required by law to be paid before payment to Grantor; and

                                  cl           to Grantor, any balance; and

               4.      be indemnified, held harmless, and defended by Beneficiary against all costs,
        expenses, and liabilities Incurred by Trustee for acting in the execution or enforcement of the trust

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         created by this deed of trust, which includes all court and other costs, including attorney’s fees,
         incurred by Trustee in defense of any action or proceeding taken against Trustee in that capacity.

         1),      General Provisions

                 J,     If any of the property is sold under this deed of trust, Grantor must immediately
         surrender possession to the purchaser. If Grantor fails to do so, Grantor will become a tenant at
         sufferance of the purchaser, subject to an action for forcible detainer.

                  1,       Recitals hi any trustee’s deed conveying the property will he presumed to be true.

                 3.    Proceeding tinder this deed of trust, filing suit for foreclosure, or pursuing any
         other remedy will not constitute an election of remedies,

                4.       This Hen will remain superior to liens later created even if the time of payment of
        all or part of the note is extended or part of the property is released.

              5.      If any portion of the note cannot be lawfully secured by this deed of trust,
        payments will be applied first to discharge that portion,

              6.     Grantor assigns to Beneficiary ail amounts payable to or received by Grantor from
        condemnation of all or part of the property, from private sale in lieu of condemnation, and from
        damages caused by public works or construction on or near the property. After deducting any
        expenses incurred, including attorney’s fees and court and other costs, Beneficiary will either
        release any remaining amounts to Grantor or apply such amounts to reduce the note. Beneficiary
        will not be, liable for failure to collect or to exercise diligence in collecting any such amounts.
        Grantor will immediately give Beneficiary notice of any actual or threatened proceedings for
        condemnation of all or part of the property,

                7.      Grantor collaterally assigns to Beneficiary all present and future rent from the
        property and its proceeds. Grantor warrants the validity and enforceability of the assignment.
        Grantor will apply all rent to payment of the note and performance of this deed of trust, but if the
        rent exceeds the amount due with respect to the note and the deed of trust, Grantor may retain the
        excess. If a default exists in payment of the note or performance of this deed of trust, Beneficiary
        may exercise Beneficiary’s rights with respect to rent under the Texas Property Code, as then in
        effect. Beneficiary neither has nor assumes any obligations as lessor or landlord with respect to
        any occupant of the property, Beneficiary may exercise Beneficiary’s rights and remedies under
        this paragraph without taking possession of the property. Beneficiary will apply all rent collected
        under this paragraph as required by the Texas Property Code, as then in effect. Beneficiary is not
        required to act under this paragraph, and acting under this paragraph does not waive any of
        Beneficiary’s other rights or remedies,

                8.       Interest on the debt secured by this deed of trust will not exceed the maximum
        amount of nonusurious interest that may be. contracted for, taken, reserved, charged, or received
        under law. Any interest in excess of that maximum amount will be credited on the principal of the
        debt or, if that has been paid, refunded. On any acceleration or required or permitted prepayment,
        any such excess will be canceled automatically as of the acceleration or prepayment or, if already
        paid, credited on the principal of the debt or, if the principal of the debt has been paid, refunded.


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         This provision overrides any conflicting provisions in this and all other instruments concerning
         the debt,

                9,      In no event may this deed of trust secure payment of any debt that may not
         lawfully be secured by a lien op real estate or create a lien otherwise prohibited by taw,

                  10,    If Grantor transfers any part of the property without Beneficiary's prior written
         consent, Beneficiary may declare the note immediately payable and invoke any remedies
         provided in this deed of trust for default. If the property is residential real property containing
         fewer than five dwelling units or a residential manufactured home, this provision does not apply
         to (a) a subordinate lien or encumbrance that does not transfer rights of occupancy of the
         property; (b) creation of a purchase-money security interest for household appliances; (c) grant of
         a leasehold interest of three years or less without an option to purchase; (d) transfer to a spouse or
         children of Grantor; (e) transfer to a relative of Grantor on Grantor's death; (f) a transfer resulting
         from a decree of a dissolution of marriage, a legal separation agreement, or an incidental property
         settlement agreement by which the spouse of Grantor becomes an owner of the property; or (g)
         transfer to an inter vivos trust in which Grantor is and remains a beneficiary and occupant of the
         properly,

                  11,       When the context requires, singular nouns and pronouns include the plural,

                12,     The term note includes all extensions, modifications, and renewals of the note and
         all amounts secured by this deed of trust,

                  13,       This deed of trust binds, benefits, and may be enforced by successors in interest of
         all parties,

                  14,       if Grantor and Maker are not the same person, the term Grantor includes Maker,

                  15,   Grantor and each surety, endorser, and guarantor of the note waive, to the extent
         permitted by law, all (a) demand for payment, (b) presentation for payment, (o) notice of intention
         to accelerate maturity, (d) notice of acceleration of maturity, (e) protest, (f) notice of protest, and
         (g) rights under sections 51,003 and 51.004 of the Texas Property Code,

                 16,    Grantor agrees to pay reasonable attorney’s fees, trustee’s fees, and court and other
         costs of enforcing Beneficiary’s rights under this deed of trust if this deed of trust is placed in the
         hands of an attorney for enforcement,

                 1?,     If any provision of this deed of trust is determined to be invalid or unenforceable,
         the validity or enforceability of any other provision will not be affected,

                18,        Grantor represents that this deed of trust and tire note are given for the following
         purposes:

                       This deed of trust is given to comply with the Final Decree of Divorce and
               obligation imposed therein in Cause No, 13-2647, rendered by the 428® Judicial
               District Court of Hays County, Texas, styled “In the Matter of the Marriage of
               K,R,J, and A J, and in the Interest of R.A.J., C.AJ, and O.G.J., minor children,*’



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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 91 of
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         COUNTY OP                                       )
                                                              /VV                        ao\Y
               This instrument was acknowledged before me on                                       by the
         Back of the Moon, undersigned Alexander Bmerick Jones, Grantor




                                                         Notary Public, State of Texas
                   #I8|%       nuomfMmimm
                      CM Notory Public, Slots of texos
                              Wy Commission expires
                                   Aprtf 21,2018




        After Recording, Return To;

        James S, Gilbreath
        1301 S, Capital of Texas Highway
        Suite C-120
        Austin, Texas   78746




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                             Exhibit D:
                  Spreadsheet Showing
             All Pending Lawsuits involving
                 Alexander E. Jones as of
                    January 23, 2020
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 93 of
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20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 94 of
 LJ.S.B.C Western District of Texas (LIVE) 97                            Page 1 ofi


                                      United States Bankruptcy Court
                                        Western District of Texas


  Notice of Involuntary Bankruptcy Case Filing


 An involuntary' bankruptcy case concerning the debtor(s) listed
 below was filed under Chapter 11 of the United States
 Bankruptcy Code, entered on 01/24/2020 at 1 ;4S PM and filed                         $1/24/2020
 on 01/24/2020.

 Alexander Emrte Jones
 Free Speech Systems, LLC
 3019 Alvin DeVane Boulevard #350
 Austin. TX 78741
 SSN /1 TIN: xxx-xx-0000
 aka Alexander Emerkk Jones
 aka Alex Jones
 aka Alexander E. Jones

   The case was filed by the following petitioning creditor(s):

   Kelly R. Jones
   11601 HWY290 W
   Suite A101-307
   Austin, TX 78737
   888-995-3559

 The ease was assigned case number 20-10118.

 If you would like to view the bankruptcy petition and other documents filed by the petitioning creditor
 fs) and the debtor, they are available at our Internet home page http://ecf.txwb,uscourts.gov or at the
 Clerk’s Office, 903 SAN JACINTO, SUITE 322, AUSTIN, TX 78701 -0.

 You may be a creditor of the debtor. If so, you will receive an additional notice from the court setting
 forth important deadlines.



                                                                       Barry D. Knight
                                                                       Clerk, U.S. Bankruptcy
                                                                       Court




 https://ecf.txwb.circ5.dcn/cgi-bin/Notiee01Tiling.pl?342268                                      1/24/2020
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 95 of
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   B2500E (form 2500li) (! 2/15)



                                       United States Bankruptcy Court
                                       ________ District Of_________
   In re                     &nnC/>X)g?                             }        Case No. Q.P — 10 II 8
                      Debtor*
                                                                     )       Chapter           H
                                                                     )



                            SUMMONS TO DEBTOR IN INVOLUNTARY CASE


   To the above named debtor;

         A petition under title 11, United States Code was filed against you in this bankruptcy court on
                   ___ (date), requesting an order for relief under chapter                  J}__
                                                                                  _ of the Bankruptcy
   Code Ante 11 of the United States Code).

           YOU ARE SUMMONED and required to tile with the clerk of the bankruptcy court a motion
   or answer to the petition within 21 days after the service of this summons. A copy of the petition is
   attached.
                                                   MQ3 SvsJXtonte ,54e, 33 5L,        }                .

                      AdtaoHhectalc                                      r%                     \




   At the same time, you must also serve a copy of your motion or answer on petitioner’s attorney.

                     Name and Address of Petitioner’s Attorney;




   If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 1011(c).

   If you fail to respond to this summons, the order for relief will be entered.


                                                                                      tf
                                                           ____________                    (Clerk of the Bankruptcy Court)
            DM: WAAL)                                     By: \                   J-~ 4.Ci^-^1)et)uty Clerk)




   * Set forth all names, including trade names, used by the debtor totbit; the last 8 years. (Fed. R .Bankr. P. 1005).
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 96 of
                                        97




                                    EXHIBIT C

                               Affidavit ofDavid Jones
20-10118-hcm Doc#8 Filed 02/13/20 Entered 02/13/20 13:17:45 Main Document Pg 97 of
                                        97




                                   UNITED STATES BANKRUPTCY COURT
                                      WESTERN DISTRICT OF TEXAS
                                            AUSTIN DIVISION

    In re:                                                    §
                                                              §
    Alexander E. .Jones,                                      §   CASE NO. 20-10118-hem
                                                              §
             Alleged Debtor.                                  §   Chapter 11
                                                              §
                   Affidavit of David Jones in Support of Alleged Debtor’s Motion to Dismiss

   STATE OF TEXAS                       §
                                         §
   COUNTY OF TRAVIS                     §


                   BEFORE ME, the undersigned authority, on this day personally appeared David Jones,
     who after being sworn did state upon his oath, as follows:


              1.        “My name is David Jones. .1 am over 18 years of age and otherwise competent and
   capable of making this Affidavit. I have personal knowledge oflhe facts set forth herein and they
   are true and correct.


             2.         “I have been involved with Alex Jones' personal and business finances for many
   years and have personal knowledge of the matters set forth herein, and they are true and correct.


             3.         "I have personally reviewed the Real Estate Lien Note from Alexander Jones to
   Kel ly R. Jones dated March 19, 2015 (the "Note''), which is attached to the Involuntary Bankruptcy
   Petition filed in the above referenced case and have reviewed the record of payments made by
   Alexander Jones to Kelly R, Jones under the Note. I have personally calculated the remaining
   balance of the Note. The balance oflhe Note is $596.267.16 as of the date hereof.


             ''Further Affiant sayeth not."’


                  SIGNED on this J ^         y of February. 2020. / \




               Sworn to and subscribed before me. the undersigned authority, on                    day of
     February. 2020.
                                                                    /C
                               PATRICK RILEY
                                                            _____ {/
                      $c Notary Public, State of Texas      Notary Public for the State of Texas
                                Comra- Empires 09-24-2022                            gyp
     -583/-5475-5/P               Notary ID 131734177
